                                  Case 1-18-42719-ess                                                                           Doc 19                            Filed 07/19/18                                          Entered 07/19/18 15:54:25




         Debtor 1 ·
                                                                                             · Middle'Na'me · ·· ·

         Debtor 2
         (Spouse, ~ filing)"" Rrst Name                                                        Middle Name                                                    Last Name


         United States Bantruptcy                     C~~rt f~r ttie:'                                         , .District bf _ _ _ __
                                                                                                                                                                                                                                                                                                                                                                                    ..
         C~senumber              t ~ -Lf-?--7 ( q /l.-S,!3>
                                mtnown)
                                                                                                                                                                                                                                                                                                                                             0         Check if this is an
                                                                                                                                                                                                                                                                                                                                                       _am:ende~, filin~

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    Official Form 106Sum
                                   1 ' •   ; ' ,.··   •   ~   : •       • •   "·'. '   .,:   • ·'   j~   (: ' \ •' · ~.... ·!   1   y   -   ;   >: ':.' , '        • • ·': ; •     ••           ~   . '.,   1   ;   '         >'       •'   1    !       ,    l        .       , /:      i ·, \ J   .'   ':   Ii , ,: ,           '       ;"    ·1           '   >.

    Summary of Your Assets and Liabilities and Certain StatisticalJnfo.rmation                                                                                                                                                                                                                                                                                                  : 12/15
    Be c!S c.omplete and accurate as possible. If two married people are filing together, both.are equally responsible for supplying correct
    information •. F.ill .out all..of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    .your original forms, you must fill out·a                                                       -~evv
                                                        Summary and·check'the:b·~~ a't'the'tcip,'o.f'this··page/•";: .., ._., ,'' ·, "''' ·,,) · ,,.,, :,•,r;i;~ 1:. " :. ·'                                                                                                                                                                                                             .
    .        -- -- _ --· _ -·                             l                                                                                                                         , .                     1'\1 '\'·-·                     ·,'·                                                                                                     ~-l.·       . • /'   ..




                      .. summarize Your Assets




        1
         · ~:~~:~:1:~=~:a::iyr~~~~:t:~~:~~;:~u/e A/8..........................................................................................................
                                                                                              ' ' , .[ J ~-\: :
                                                                                                                                                                                                                                                                                                                                             $        ?([(JO, aw,
            1b. Copy line 62, Total personal property, from Schedule AIB .............................................. :........,.... ..:.·,-.·,·'. .. T-·.-,:··, .. ·:;·:·-::-......· ,,.,$
                  •                                                                                                                                                                                                                t
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                                                                                                                                                                                                                                                ;,-,\             ·;           .J ,~:.., .••.. __                     .-t-- ..
                                                                                                                                                                                                                                                                                                                                                       Jt (:IQ ·t{J~
                                                                                                                                                                                                                                                                                                                                      t,~\...-······~-· -,

            1c. Copy line 63, Total of all property on Schedu~e A/8 .........................................................................:...............................
                                                                    ·                                    · •            ~                                                                                                                                     c.r;,;           .1'
                                                                                                                                                                                                                                                                                     1
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                                                                                                                                                                                                                                                                                                                                          :::,,.: .• \ ,                       ~'   •




                       Summarize Yollr_ Li_ab.il\ties                                                                                                                                      ·-   ·.·:.·-,;,                             :;,, \




    2. Schedule D: Creditors Who Have Claims_ Secured by Property (Official Form 106D)
           2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ........... .
                                                                                                                                                                                 :;'.,. ''\ '                                                                ••        f



    3. Schedule EIF: Creditors Who Hav_e Unsecured Claims (Official Form 106E/F)
          · 3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF .......................................... ..
                                                                                                                                •                                                               ,,                      .,,                          1                     "     -f! ..                        ·'         ".·
                                                                                                                                                                                                                                                                                                                                            $_-=3_0J-'-,
           3b. Copy the total claims. from ear:t2.(nonpriority.unsecured claims) from line 6j of Schedule EIF ...................................... .
                                                                                                                                                                                                                                                                                                                                      +     $__   0_;4_0
                                                                                                                                                                                                                                                         Your total liabilities




    4. Schedule I: Your Income (Official Form 1061)
           Copy your combined monthly income from line 12 of Schedule 1..........................................................................................
                                                                                                                                                                                                                                                                                                                                            $          3,#-1.     i



    5. Schedule J: Your Expenses (Official Form 106J)
           Copy your monthly expenses from line 22c of Schedule J ....................................................................................................



        ~~              ',
    ~                     -,,
~   Official Form 106Sum     '                                                               Summary of Your'Ass·ets and Liabilities and Certain· Statistical lnform'ation                                                                                                                                                                                 page 1 ofi
                                  \
                                          Case 1-18-42719-ess                                     Doc 19               Filed 07/19/18                                                       Entered 07/19/18 15:54:25

   Debtor 1
                             Fi~I Name                          Middle Name
                                                                                                                                                                                ·..
                                                                                                                                                                                      Case number Citknown)
                                                                                                                                                                                       ·-' .
                                                                                                                                                                                                                                                   /S'- Lf;z._ 71 r6 ss
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                                                                                                                                                                                                                                   I
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                                                                                                                                                                                                                                                   ,-,




                        Answer These Questions for Administrative and Sta'tistical Record~


   6. Are you f ·ng for bankruptcy under Chapters 7, 11, or 13?

                   o. You have nothing to report on this part of the form. Check this box and submit this forrn to the court with your ?th r_schedul_~~:
                                                                                                                                                                                                                                                                               7

   7.                  nd of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
                family, or household purpose." 11 U.S.C. § 101 (8): Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159. .. ,
                                                                                                                                                                                                                                                          ; " l ; .,···;, - ',.


         D   Your debts are not pri~arily cons_umer debt~. You have no~hing to report Qn t~is part of t~e form. C,heck this, box ancrsubmit
                                                                                                                                                                                                                                                                                                         -1·:.;·:
        . '· thisformtothecourtwitli·yourotfierschedules:- ;,; • ···::,·,,... ; .__ ,, -,·, :.· :·.,, , .. :: ,. ,,:, ,,'._, _,;-._ - . ·.·,' . '_.
                                                                                                          .•   1 • ;:- - •-• .. •_, ~ ; ..,              >                            .~.   •"•- •••.:.," •..._••    '      • --'L-'         -•~'>           .• .:..   •'      .!. ' - .: ..•


                                                                                                               . •• ~ ~ '       ,•       •1   r '" ; . ,.: ·, • '                                               . ,.,•/ ',i

        ·.!/!   ,h)t, . . . . . -_;               ;•ft      ,        , ,   ::t ~:·· '•
                                                                              .. ~      ', t·::) t, ,-> . ,.·tt 1 ,.,-,'"
                                                                                     ;.. 1   _.     ,.~· :';·" 11           .        jd;~
   a. From the Statement of Your Current Monthly lncome:.Copy. yoµr. total .current monthly income from Official
      Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Forni 122t~1 Line 1::c .. ' ·. '      ... ' .. ' . ' ...
                                                                                                                                                                                                                                                           ..... :I _.
                                                                                                                                                                                                                                                                                                                   ·•1·
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                                                                                                                                                                                                                                                                                                                                .




   9.




                                                                                                                                                                                                  Z:: ~ ;(.,        i;,                                         \:,_.




         9a, Domestic support 091igations (Copy line 6a.)
                                                                                                                                                                                                          $ _ _ _ _ _ _ _ __       ·CJ~·O·'
         9b. Taxes and certain other debts you owe the government. (Copy line 6ti-.)                                                                                                                       $_ _ _                    _.~;_r_t_/_a_._)_·_,;:; .
                                                                                                                                                                                                                                   l_~-                                               ·.,<·::- ·,' "\' --~-

                                                                                                                                                                                                                                       /r'-\ I (}
         9c. Claims
                 ~.
                    for.death
                       ! .,
                                or personal injury while you were intoxicated. (Copy line 6c.)
                            ,,,,.,
                                                                                                                                                                                                           $_ _ _                      V=------
                   ---,- .:-:-- ___-,;.   ..
         9d. Student loans. (Copy line 6f.)
                                               _. .,   !.

                                                                                                                                                                                                           $~~o~J.                                          ..C::,..o,-'--._



         9e. Obligations arising out of a separation agreement or divorce that you did not report as
                                                                                                               .• !· .-              <r ;•J -:.:,y'                 __,r: J°'                                       ..    ;, ..
                                                                                                                                                                                                           $ _ _ _ _ ___,=---
                                                                                                                                                                                                                                       V,o·)__
             priority claims. (Copy line 69.)


         9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)
                                                                                                      '                                       -·
                                                                                                                                                                            ':;/,,; -..             + $ _ _ _ _ _ _ _ __
                                                                                                                                                                                                                                          0,-6\:,
                                                                                                                                '    j        ·~   l




          9g. I91al- Add linE:)s_9;;i_ through 9f.




Official Form 106S um                          Summary of Your Assets and Liabilit_ies anq Cert_ain Statistic_al lnformati_on                                                                                                                                                                      page 2 of 2
                         Case 1-18-42719-ess                                Doc 19                 Filed 07/19/18                       Entered 07/19/18 15:54:25




  Detitor2
 · (Spouse, if filing} Fir.,t Name , , ·,,; :       Middle Name                             Last Name


  United States Bankruptcy Court for the:.~-~...,-,.-- District of _ _ _ __

  Case number
   (If known}
                          /95 -tfJ_7 / q C 5S                                                                                                                  0    Check if this is an
                                                                                                                                                                    amended filing



Official Form 106C
Schedule C: The Property You Claim as 'Exempt                                                                                                                                 '04/16

Be as.complete and accurate as possible. If two married people· are'filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/8: Property (Official Form 106NB) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, writ~,·
your name and case number (if known).                                   ·
                                                 ,! : (I    .     . '          .        .   '<   ~ ~•• -_   ! ..... :
For each item of property you claim as ~l'iemp~J!)U m.ust ~P,~<:i!¥Jhe amount of the exemption you claim. One way of doing !:lo ,is_to state: a
specific dollar amo·unt as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to 'the· amchiili
of any applicable statutory limit. Some exemptionS-such as those for health aids, rights to receive certain benefits, and tax-exempt ,.;.,.-'.:
retirement funds-may be unlimited in dollar amount. Howey~_r,. if,you claim an exemption of 100%.of fair market value under a law \hc1f· .
limits the exemption to a particular dollijr amo.untand the'value_,of the property is determined to exceed that amount, your exempti~n
would be_ limited.to the applicable statut6ryiamount. ··.    :10 \. ,.                                            ·



                   Identify the Property You Claim as Exempt . .
                                                            1



     Whi~t of exemptions-are you cl~i~iri ~'-r6/2~'.~{t~'.~·3~J;,;~~en if your spouse is filing with you.
         ~ou are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         0   You are claiming federal exemptions. 11 U.S.Q. §§??(b)(2) ·. : ·..
                                                                                   ' ,..;   ·:. ,i. t
                                                                                                                                                                           '-::   ·;

         For any property you list on Schedule Ais that you claim as exempt, fill in the information below.




         Brief
         description:
                                                                            $_-_ _ _ _ _l_.                             0$ _ _ __
         'Line from                                                                                                     D 100% of fair market value, up to
          Schedule A/8:                                                                                                    any applicable statutory limit

         Brief
         description:                                                       $----~--                                    0$ _ _ __
         Line from                                                                                                      D 100% of fair market value, up to
         Schedule A/8:                                                                                                     any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160;375?
     ~ t v t ~ ~ t , ~ ae ;ery 3 years after that for cases filed on or after the date of adjustment.)

     ~~d you acquire the property covered by the exemption wjthin 1,215 days befc:>re you filed this case?
             Ii¥ No            \/    \/4        N(J ·
     .       ~~                                                         .



Official Form 106C                                                          Schedule C: The Property You Claim as Exempt                                                page 1 of_
                              Case 1-18-42719-ess
                                                                                        ,Doc 19                 Filed 07/19/18                                    Entered 07/19/18 15:54:25

      Debtor 1                                               J< \ \11
                                                                  Last Name
                                                                                                                                                                 Case numb~r (ifkno~)                         I g- If2 7I 9/~5' )
                                                                                                                                                                                                         .·,;: :~             ·.,         ·,.'     .     i       .




     •ifI               Additional Page

           · Bri~(des~riptlori of the property ~nd line                               Current value~ ciftfie·'··· Arr,ount·of tlieexem-ptioi{yo~~iafrri_:_ -·:··§peciffc.iaw
                                                                                                                                                                           __:'_s'.fi1af~l_low'e~~~Jt1oi1
             ori_Schedule A/8 that lists this property                                portion yi,u own·
             -., :-·.    .      .               .



                                             l '· .·
                                                                                                            ;                                                                                                                                                             :r.,.,
                                                                                      Copy the value from .
           '"'"" C,, ''       r<J_ ra.,,,_                                            Schedule~         .
                                                                                                                    .                          ri)          ..        .. -·                      ···"          •;,
           Brief                     I         ~                                       $(,CHIO_~$«-=-/, o!JD, (JllV\.                                                                                            oo
           description:         'tf IA. I ) (i1~                                                 1              1
           Line from            -1-iJ                                                                                              GYioo% of fa~ market value, up to
                                                                                                                                     any applicable statutory limit
           _Schedule_AIB: __                                                                                                                                                                                                                     ---·- ·-·-··-··--,,_ -    ····---·-·--···-··-- --·

           Brief
           description:                                                                                                            0,$ _ _ _ _ .                                             ., ., :·...;\ ,.-
           Line"from                                                                                                               0 100% oHair marketvalue,·up to·' ·
           Schedule AIB:                                                                                                            .· any applicable statu_tory [mil


           Brief                                      -···'-''.
                                                                                        $_ _ _ _ _ __                              0$ _ _ __
           description:
                                                                                                                                   0 _100% of f~ir market value, up to
           ¥,;lr~;:.fl/~-,: ,________:::._i:~;i                                                                                   ,:
                                                                                                                                       ' . 'any appiicable statuto'rfiimit' ,,, : ·,·' i' ; c,
                                                                                                                                            ! -:,-·:·                                  '     -i:r,   "'JJ'/,      _J,..._<;-;·.-,-o!-.,-,-,,-.-,.----,- - - -

           Brief··,.                                                                                                              l ,'~ r     •" :




           descr/ptio·n: •.
           Line   tr8iri.:.                      ;:    ..
                                                                                                                                   0$·:
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                                                                                                                              : O,100%'offairmarketvalue;upto
                                                                                                                                                                                   . tC· ·         . ;. , :t :, , ii.;

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---.---~__cneaiJlelVi'r_~:---====--------                                                                                  --any·applicable·statutoryii{llit:.                               u:::'.:::rr::t:::::,:'.::::2:'::=::::'.:::~===~-
                                                                                                                                                                      ----------- ----------------- --------- --------------------
           Brief                                                                        $_ _ _ _ _ _ __
           description:                                                                                                            0          $         ·:tof•,·,~·       . ,"";   :~tt·.·.;_~     \".>C)     'L·i;~.~·--:'':.·i G)I,

           Line from                                                                                                               0          ·100%'offairmar1<etvalue, u/:i"to · ·· ·
                                                                                                                                              al]y applicable statutory limit.
           Schedule AIB:                                                                                                                       ._· ;•\·~;',' . . .  ·~:    .,        ~-~\·             ....
           Brief                                                                        $_ _ _ _ _ _ __
           description:                                                                                                            0$'
           Line from                                                                                                               0 100% of fair market value, up to
           Schedule .AIB:                                                                                                                     a_riy ar:>pJi_cabl~ staMq__ryJir:n_it _
                                                            't,': )                                                     ·,,1 ,.    -n,-. ·. . . J·,.1·;:: ,;(·· .;.: ;· ,::.                 ~   ':;',\.',:y·:·1_·:.._ . 1,:1 ;;ii

           Brief                                                                        $ _ _ _ _ _ _ __
           descriptiq~:_, .                                                                                                        0$.                                        .
          _Line from ___ .                                                                                                          o''-io.o?lo\iUair ~~~i<et                       v'~,~~'.'~p,.\'~ __
                                                                                                                                  · -- · anyapplita~le_~tatutory limit·-----·· _ _ _ _ _ _ _ _ _ _ _ __
          ··scheduie)VB:

           Brief
           description:
                                                                                        $._ _ _ _ _ __                             0$ _ _ __
           Line from                                                                                                               0 100% of fair market value, up to
           Schedule AIB:                                                                                                                      ariy applicable" statutory limit
                                                         --,--------------------------------------------------------------
           Brief
           description:
                                                                                        $. _ _ _ _ _ __                             0$ _ _ __
           Line from                                                                                                                0 100% of fair market value, up to
                                                                                                                                    . -- any applicable statutory.limit ..
           Schedule AIB:

           Brief _
           description:
                                                                                        $_ _ _ _ _ _ _                              0$ _ _ __
           Line from                                                                                                                0 100% of fair. market value,-up-to
           Schedule AIB:                                                                                                                       any applicable statutory limit
                                                            ....... -···---   - ·--·-··---··---··-·-   ·,
           Brief                                                                        $._ _ _ _ _ __
           description:                                                                                                             0$ _ _ __
           Line from                                                                                                                0         ,100% of fair. market value,.up to
           Schedule AIB:                                                                                                                       any applicable statutory limit


           Brief
           description:
                                                                                        $. _ _ _ _ _ _ __                           0$ _____
           Line from                                                                                                                0 100% of fair market value, up to
           Schedule AIB:                                                                                                                       any applicable statutory limit



     Offici_al Form 106C                                                           Schedule C.: Th~ Property You Claim as Exempt                                                                                                                       page£_of_
                         Case 1-18-42719-ess                               Doc 19           Filed 07/19/18               Entered 07/19/18 15:54:25


Fill in this information to identify your case:

 Debtor 1
                    First Name                        Middle Name                    Last Name


Debtor2
 (Spouse, if filing) Fust Name                        Middle Name                    Last Na_me.


United States-Bankruptcy Court for the: _ _ _ _ _ District of _ _ _ __

,Case number
 (If known)                                                                                                                                                      0   Check if this is an
                                                                                                                                                                     amended filing


Official Form 1060
Schedule D: Credit.ors Who Have Claims Secured by Property                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together; 5oth are equally responsible for supplyi~g ·iorrect
information. If more space is needed, copy the Additional Page, fill it out, number the-entries, and attach it to this form. On the top of any ·
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?                                                                                              , .....
      D _)lo. Check this box and submit this form to the court with your other schedules; You have nothing else to report on. this f~!:'T'·                           .,
      Gil' Yes. Fill in all of the information below.
                                                                                                                                                            t:.,      .    '.,




      Number          Street
                                                               As of the date you fi
                                                               0        Contingent

      Ctty
                                 l{j,7ai.te    ZIP Code
                                                               0        ~uicfated
                                                               llYDisputed

  Why-owes the debt? Check one.                                Nature of lien. Check all that apply.-
  ~ Debtor 1 only     .                                        0    An agreement you made (such as mortgage or secured
  0 Debtor 2 only                                                   car loan)
  0 Debtor 1 and Debtor 2 only                                 O    Statutory lien (such as tax lien, mechan!c's lien)                       f :.. /      A                  .(
                                                                                                                                             !{-;rJ /1-111 ' 0 / I C ~
  0 Atleastoneofthedebtorsandanother
  0    Che~k if this claim relat~s to a
                                                               O
                                                               D
                                                                    Judgmentlienfromalawsuit··
                                                                    o•~ o,c1,d;og a '9ht to,,,,~,
                                                                    .                      ,
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                                                                                                                                     v,,   1

     · community debt        .                \<           ll\J (\                                        '7~ "'- ~        . r.l       •
  Date debt was incurred \ )             Y\        \'\ 0       Last 4 digits of account number _L_




  Why-<>wes-th~ebt-?-GheGk-ooe-~.------Nature-oHien:-C-tteck-alHhat-appf,,._-----------------------------+-
  0     Debtor 1 only                                          O    An agreement you made (such as mortgage or. _secured
  0     Debtor 2 only                                               car loan)                        '·        '· ,. •·
  0
  0
        Debtor 1 and Debtor 2 only
        At least one of the debtors and another
                                                               D
                                                               O
                                                               0
                                                                    Statutory lien (such as tax lien, mechanic's lien) ·
                                                                    Judgment lien from a lawsuit
                                                                    Other (including a right to offset) .
                                                                                                          -
                                                                                                          U V\ . . _ \fch/L ( ~t_
                                                                                                                                 f /) S
                                                                                                                                 ·


                                                                                                                                            \J W\_ ~
 0      Check if this claim relates to a
        community .debt
 Date debt was incurred              )                ~ s t 4 digits of acc~unt ilu~ber                 _f.J. _il   Ll .'
Official Form 106D                                    Schedule D: Creditors Who Have Claims Secured.bi, Prop·ertv                                                    paqe 1 of
                            Case 1-18-42719-ess                                                Doc 19                                     Filed 07/19/18                         Entered 07/19/18 15:54:25

   Debtor 1




                 Additional Page
                 After listing any entries on this page, number them beginning with 2.3, followed
                 by 2.4, and so forth.


                                                                            Describe the property that secures the claim:                                                                        $ _ _ _ _ _ __                  $ _ _ _ _ _ _ _ $ _ _ _ __
        Creditors Name


        Number           Street


                                                                            As of the date you file, the claim is: Check all that apply.
                                                                            D Contingent
        City                                   State       ZIP Code         D Unliquidated
                                                                            D . Disp1,1t~d :, :;_                                                                                                          , : ,   . --v-

    Who owes the debt?·Check one.                                        Nature of 1ie'6; ,Gheck a1ithai app/Y-,
    D     Debtor 1,only       .   '.   '   .               ,,T.        ·.D :An·agr~~ment ;ou·made:(s~ch'.~s mortgage or:secured·                                                                '- .. ·':
    D     Debtor 2 only                                                               car loan)                                                                                            · . :, ., ,: ··· ·         ,:·,':,.
    D     Debtor 1 and Debtor 2 only                                        D         Statutory lien (such as tax lien, mechanic's lien)
    D     At least one of the debtors and another                           D         Judgment lien from a lawsuit
                                                                      . ,:P           Oth_E1r (including a rig_h!JflpffsE1t) _ _ _~~--~
    D     Check if this claim'rel~tes to a
          community debt

    Date debt was incurred                                                  Last 4 digits of account number _                                                            __ _
                                                                             ·,

r~':;:=.============-·~'=·=·-::::====°'.:::~==-:;::~-u__~~GFi.~e-t~,«;,;P.~<?P.:rttth,a~-S,ecureith~~faim.:.,:,..--;-:---:--:~=======::===.: ~===:::======·$,
        Creditors Name
                                                                                                                                                                                                                                                   - - - . - ·-


        ,-,N~um-bc-e-r--_-S"'t_re_e_t- - - - - - ~ - - ' -_,
                                                          ..           I',· •                                                                                     ,,, '-!-



                                                                            As pf the date y,ou_ file, tbe _claim is_: Checls-allJ.hat,apRJy. - ..
                                                                            D         Contingent •
                                                                            D         Unliquidated
        City                                   State       ZIP Code
                                                                            D         Disputed
    Who owes the debt? Check one.
                                                                            Nature·of·lieii'.' check all tl_la!apply.... : "
    D     Debtor 1 only
                                                                            D .. An agreement.you.made (such as mortgage or se~red
    D     Debtor 2 only                                                               car loan)
    D     Debtor 1 and Debtor 2 only                                        D         Statutory lien (such as tax lien, mechanic's lien)
    D     At least one of the debtors and another                           D         Judgment lien from a laws(!ik

    0     Check if this claim relates to a
                                                                            D         0th~~- {in~l~~!r:ill." rif)ht to_off~~t) _ _ _ _ _ _~ _
          community debt

    Date debt was incurred _ _ _ _ __                                       Last 4 digits of account number __ -:_. ____ .


                                                                            Describe the property that secures the claim:                                                                        $ _ _ _ _ _ __                  $_ _ _ _ _ _ _ $_·- - - - -
        Creditors Name


        Number           Street
                                                                                                                                               \


                                                                            As of the date you file, the claim is: Check all that apply.
                                                                            D         Contingent
        C~y                                    State       ZIP Code         D         Unliquidate~
                                                                            D          Disputed

    Who owes the debt? Check one.                                           Nature of lien. Check all that apply.
    D     Debtor 1 only                                                     D         An agreement you made (such as mortgage or secu·red
    D     Debtor 2 only                                                               car loan)
    D     Debtor 1 and Debtor 2 only                                        D         Statutory lien (such as tax lien, mechanic's lien)
    D     At least one of the debtors and another                           D         Judgment 'lie·n· from a lawsuit
                                                                            D         Other (includi!:1~ a right to offset) __________
    D     Check if this claim relates to a
          community debt
    Date debt was incurred                                                  Last 4 digits of account number _ _ ·_·_ _·_·

               Add the dollar value ~f your entries in Column
                                                   •   •                '         ,   ••   •
                                                                                                      AA" this page._WrLt~Jt)c1,t
                                                                                                                         1,~-·
                                                                                                - .... ~ . - ' / - , : , - . ,
                                                                                                                                  Q1cJ11Jf?.er,1J!_lrg: $
                                                                                                                                 ,., •.;- ••, ,'
                                                                                                                                 "'   L    ,.:_..:_    vi=========l
                                                                                                                                                      ,<~,,.,:,       ~~,        >,>,<~t7i'..,

               If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                                                                                                                 $ .
 ____Writejhat number here:                                                                                                                                                  ·

   Official Form 106D                                  Additional Pape of Schedule D: Creditors Who-Have Claims Secured by Property                                                                                                        pape    of   .. ·
                    Case 1-18-42719-ess                            Doc 19       Filed 07/19/18              Entered 07/19/18 15:54:25
                                                                   l
Debtor1
               FirsY'Name          Middle Name
                                                        k
                                                       ·~
                                                       Last Name       .
                                                                                                            Case nurr:iber (if known)


                List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection.
   agency_ is trying to collect from you for a debt you owe to someone else, list_the creditor in Part 1, imd then list the collection agency here. Similarly, if
   you have more than one creditor for any of the debts that you· listed in· Part 1 ,' list the'additional creditors here. If you do not have additionai 15-erjio·ns to·

[]
 . be.1totifiii°c1 for any debts in Part 1, do not fill out or submit this page'.
          :·                                                                .
                                                                                  .         . :. · .. · . . .                                         . .. '· . .

                                                                                                       On which line in Part 1 did you enter the creditor? _ _
      Name                                                                                             Last 4 digits of account number _ _ _ _


      Number         Street




      City                                                State            ZIP Code
                                                                                                ...

~                                                                                               I
                                                                                                i
                                                                                                      On which line in Part 1 did you enter the creditor? _ _

      Name                                                                                      J
                                                                                                i-;
                                                                                                       Last 4 digits of account number _ _ _ _
                                                                                                1
                                                                                                ,;
                                                                                                ,,
      Number        Street
                                                                                              I ~
                                                                                              ~
                                                                                              ~
      City                                               State             ZIP Code
                                                                                              I
                                                                                              j.:
                                                                                              ~


LJ                                                                                                    On which line in Part 1 did you enter the creditor? _ _




                                                                                            I
      Name                                                                                            Last 4 digits of account number _ _ _ _


      Number        Street




      City                                               State             ZIP Code
                                                                                            I~

                                                                                             ~
                                                                                             t
LJ    Name                    •.
                                                                                             I
                                                                                            r6
                                                                                                      On which line in Part 1 did you enter the creditor? _ _

                                                                                                      Last 4 digits of account number _ _ _ _
                                                                                            ~
                                                                                            .I
                                                                                            I
      Number        Street
                                                                                            *"f;
                                                                                            t
                                                                                            ~


                                                                                            1
     City                                                State             ZIP Code         1/



                                                                                            ~
LJ   Name
                                                                                            f;
                                                                                            ·,·~
                                                                                                      On which line in Part 1 did you enter the creditor? _ _

                                                                                                      Last 4 digits of account number _ _ _ _
                                                                                            ;

     Number        Street




     City                                                State             ZIP Code

                                                                                                      On which line in Part 1 did you enter the creditor? _ _
LJ   - ----------------------------
     Name                                                                                             Last 4 digits of account number _ _ _ _


     Number        Street




     City                                               State              ZIP Code



Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured bv Prooertv                                oaae         of
                               Case 1-18-42719-ess                        Doc 19          Filed 07/19/18                     Entered 07/19/18 15:54:25


                                                                                                                                                                                                   ~,   .



      Debtdr'2
      (Spouse,   ~   filing) First Name                    Middle Name                Last Name


      United States.Bankruptcy Court for the: _____ District of _ _ __;__

      Case number
      (If known)
                               1g-Jt27I ~ &0                                                                                                                          0 Ch~ck if this is an
                                                                                                                                                                             amend~.d filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                             12/15
                                                                                                                                                              1
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors ,;,',;1th' NONPRiORITY claims.
 List the other party to any executory contracts or unexplredi(easesthat,could·resulUn a:claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106AIB) and on Schedule G: Executory Contracts and Unerpired Leases (Official Form 1OGG). Do not incl_ud~ any
 creditors with partially secured claims that are listed in SchedlileD::creditors WhdHave· Claims Secured by Prope_rty. If 111ore space. is:
 needed, copy the Part you need, fill it out, number the entries in the •boxes ·ori:the left. Attach the Continua_tion Pa'ge to this' page.              top of                   On t.~e
 any additional pages, write your name and case number, {if. known), .· .. ,                   ·              ·... · · · · · ' · · · .· ,. · · ··, ., ,...

                       List All of Your PRIORITY_!Jnsecure~_flairl}S
                                                                                                                                                                       1,,    [,'!',,     'dt.l ,;,
 1. Do any creditors have priority unsecured claims against you?
        D No. Go to Part 2.                                                                                                                                                             ·. ·-:\ t .
        ~




                                                                                                                             .     ;                        ~
2.1
                                                                             Last 4 digits of account'nu~b~;~(2~6
                                                                                                            ·.:..:.,.:·'/. :_,_:
                                                                                                                                       L .:3 ;;:,$16.I.{6 • ix_
                                                                                                                                                             -----
                                                                                                                                                                                         $    v·
                                                                                                                                                                                          ------
          Priority Credi~ame              ('     \     ,

           H
          Number
                         ;L-Y\hN\. ~
                               Street
                                                       lL(__~                When was the debt incurred?

                                                                                                                                                                       yl,     ··. p;,'
                                                                                                                                                                                             'l

                                                                                                                                                                                               Li
          W~urred the debt? Check one.
          ef"
            Debtor 1 only
          D Debtor 2 only                                                    fype.of PRIORITY unsecured claim:
                                                                                                                                                                                ,.• ·3 .. :
          D Debtor 1 and Debtor 2 only                                       D   Domestic support obligations
          D At least one of the debtors and another                          D
                                                                                                                                                                               \s''
                                                                                 Taxes and certain other debts you owe the government

                                                                                                                               ~ 1 L. r ·· ·(z ;\
          D      Check if this claim.is for a community debt
                                                                             o;:;:a~:~deat~rpr_c:na1injurywh1youwii
                                                                             _(la' Othe'r: Specify\-:...~: \:,\'-t\f\OJ\.-e.J( tl.A &A,yl V
                                                                                                            1 .•   ,....!'




                                                                             Last
                                                                               .
                                                                                  4 digits of accounfnumber _
                                                                                    .:!: ' :    !.• •... ' .. , I
                                                                                                                              _
                                                                                                                              ,'
                                                                                                                                       _   _   •
                                                                                                                                                   $
                                                                                                                                                   •_ _ _ _ _ _
                                                                                                                                                                  $
                                                                                                                                                                  •_ _ _ _ _
                                                                                                                                                                                         $
                                                                                                                                                                                          ·-----1
          Priority Credito~s Name
                                                                             When was the debt incurred?
          Number               Street
                                                                             As of the date you file, the· claim is: Check all that apply.
                                                                             D   Contingent
         City                                  State       ZIP Code          D   Unliquidated
         Who incurred the debt? Check one.
         D Debtor 1 only                                                     Type of PRIORITY unsecured ciail'(l:
         D Debtor 2 only                                                     q  D~ioestic ~upport ~~lig~iion~ . ,
         D Debtor 1 and Debtor 2 only
         D At least one of the debtors and another                           D   Taxes and certain other debts you owe the government
                                                                             D   Claims for death or personal injury while you were
          D      Check if this claim is for a community debt                     intoxicated
         Is the claim subject to offset?                                     D   Other. Specify ______________
         D No
         D Yes

Offir.i~I Form 1 OfiF/F                                            Sr.hP.rlt1lP. E/F: Crnrlit.nr.s Whn H~vP. UnsP.r.t1rP.rl'Cl~im.s                                          n~nP. 1 nf
                                                Case 1-18-42719-ess                                                                  Doc 19                    Filed 07/19/18                               Entered 07/19/18 15:54:25
 Debtor 1
                                                                                                                                                                                                                              1
                                                                                                                                                                                                           Cas_e number (it known)            ti-         .,·..
                                                                                                                                                                                                                                                                     c2119 £:;s                            .



                                    Your PRIORITY Unsecured Claims - Continuatiori Page

 After listing any entries on this page;: n'umber them beginn.ing·witii"i:3, f~ffowed
                            •                             .         •   •      •       •   •       •   .'    ·-:>-··   .    ·,   ,              .   1· . . .· . . : ;, . ' ·by
                                                                                                                                                                            . 2.,(arfri so fo.rth;'

                                                                                                                                                                                                                                              $ _ _ _ _ _ _ $ _ _ _ __                                         $ _ _ _ _ _- !
                                                                                                                                       Last 4 digits of account number _____· _.___
           Priority Credito~s Name
               .       \,       .   :,            .
                                                                                                                                       When was the debt incurred?
       ·Number'·                                Street

                                                                                                                                       As of the date you file, the claim is: Check all that apply.
                                                                                                                                                                                                                                                           '• 1,,,:'
                                                                                                                                        D Contingent
           City                                                                        State                                           .D ..Unliquidated                                                                                                                                               . ;' "..
                                                                                                                                 ..,. :· o·. bisputeef'.         .
       who in~u-rrec1 th'e. debt?. c'h;ck b;~'.~
                   ,                                  , j~.,, .,_       . .•       '           '                                                                                                                                                           .:·,,,'
           O•Debtor 1 only · ··:.,                                                                                                     .Type of PRIORIT.Y. unsecured· claim: · ·
           0'-Debtoi- 2 only
           D be6icir 1 and bebtbr 2· only ··. · ·. ·                                                                                  :'. c;J Dom~~tic s~pp~rt. ob·li;atibns . .              , ,· i .. , .
                                                                                                                                         .GL Taxes and cectain other debts you·oweJhe gove~merit'... ~ .
           o· 'At least cirle 'odt/e"d~bt6~ ~~d ~n6ihJi-
                                                                                                                                                                                                                                                    : ,':.· \'      h.!.

                                                                                                                                          D Claims for death or personal injury:vmile yoirwere •            1                 o1 .. ·: •
                                                                                                                                                                                                                                                                  'i~ I   •   • '   1.:   ,,*                     1'1


           D       Check if this claim is for a community debt                                                                              intoxicated
                                                                                                                                        D   Other. Specify                                 -';, ·... ··
    -~- .. -.,P-•'°•~                    ;,••
        Is the claim subject to offset?
                                                                                                                                                                                                                          ,,:.1 ... -

           D       No
           D       Yes




   ', ,r_,~~nt.~-                                                                                                                      As of the date you file, the claim is: Check all that apply.
   ,:1,:   ~/::T'S~.-
                                                                                                                                        D   Contingent
           City                                                                        State                >.ZIP Code                  D   Unliquidated; .. ,l(,-v.. - •,,
                                                                                                                                      · o·-ois~u·t~.      ,.....•..•..

       Who incurred the debt? Check one.
           P Q.~btC>r 1 only                                                                                                           TYpe 9f_f>8IQRIJ_y_ unse.cured claim:
           D       Debtor 2 only
                                                                                                                                     "'' ci' :6li;i;~'sii~ ~Ji,p6J6bli9ati6~s' .,·                   .:i ''."
           D       Debtor 1 and Debtor 2 only
                                                                                                                                        D   Taxes and certain other detits you,o>he!ihe government-·,
           D       At least one of the debtors and another
                                                                                                                                        D     Claims for death or personal iii)ury                     wlj@
                                                                                                                                                                                                   you were
                                                                                                                                                                                                                                                                 _ ' : •. ·~         1~         !\r ·-'·- ·---·-·-·.-
                                                                                                                                          ---·intoxicated              ...... "_. , ...,... •:··.-
           0       ·checK if this                     c'lalm is for a commiin.ity debt
                                                                                                                                        0    Other. Specify-~-,-,,..~-,,--,----,,,------
                                                                                                                                         , !L               ·,>~·        ·Y     r.c
        Is the claim subject to offset?
           D       No                                                                                                                                                                                                                   t•.                      r,:.:.
           D       Yes

                                                                                                                                                                                       .. i        ;;:;,
                                                                                                                                        Last 4 digits of account _nu1T1b~r -;:---: ,-·_____
           Priority Creditors Name

                                                                                                                                        When was the debt incurred?
           Number                               Street
                                                                                                                                                      •   ~-         •   < .;   • •· , '   '   :



                                                                                                                                        As of the date you ~le,}he claim is: Check all that apply.

                                                                                                                                        D    Contingent
           City                                                                        State                 ZIP Code                   0    Unliquidated
                                                                                                                                        D    Disputed
           Who incurred the debt? Check one.
           0           Debtor 1 only                                                                                                    Type of PRIORITY unsecured clairt1:
           0           Debtor 2 only
                                                                                                                                        D    Domestic support obligations ,
           D           Debtor 1 and Debtor 2 only
                                                                                                                                        cf-rax~s arid cert;in ~!her debt; you ~te the government
           D       At least one of the debtors and another
                                                                                                                                        D    Claims f~-~ cieath or per~~nal injury while you were
                                                                                                                                                                                                                                                                                                                        /
                                                                                                                                             intoxicated       ·                            ·
           0       Check if this cl~im is for a community debt
                                                                                                                                        D, Other. Specify_·-'-'-·--'----------~                                                  l   ,,;


           Is the claim subject to offset?
           D           No
           0       Yes


Offirfal Form 10nF/F                                                                                                       S~hP.ciul,P. Elf: Creditors Who H:ivP.. UnsP.t::llrP.ci Cl:iims                                                                                                                              of
                                    Case 1-18-42719-ess                                       Doc 19                     Filed 07/19/18                                   Entered 07/19/18 15:54:25
        Debtor 1                                                                                                                                                          Case number (ii known)


                            List All of Your NONPRIORITY Unsecured Claims                                                                                                                                                             ,,   '


                                                                                                                                                                                                                                                                                '<


        3 .. o ~ · reditors have nonprlority un;;~ured clai~s ag~inst y~u? ,
             0 any                                                                                                                                                    .      -           •
             []      o. You have nothing to report Cn this part. SubmiMhis forinfo the 1court with your othe'i-'schedules. :·
                    Yes

        4. List al_l of your non priority unsecuredJ,:fflJms :ill tJ:1~,1el_R'1~.~"e.tlsa.!&.~er of the creditor who. hol~s e~ch clc1im. _If a creditor has more' t~an onL,,,J
           nonpriority unsecured'clainiilisffhe-Creditor separately fofecl;Ch Cl?.irn; Foreacn,cla[r:n.listed,.id~ntify.whattype.of,claimdtds;"l:lQi,not-li§t¢1a,ims.~lreadf'l
           included in Part 1. If more than one creditq_riM!cl.s:,?., P?.);!ti:~Jw,~1.~jry:i;.Ji:>~ the other creditors iri Part 3.lf you have more than tme·e no'npri6/ity"ci1i'ggclir,~d-;
           claims fill out the Continuation Page-·of Parf2.'""'""'·· ->:-' '""'··: •••... ,              . .                                                                                                               ,        .. ·           · ,, ,.· ',,'i
                                                                                  ,·        '      '     ,,...,.,..__.~~.,..,.,;.,_.,..~~--.:..,, ,,,,,_ ~ ••,,,,_..,., ••,'>"'-~.-;:~,,,...,.)'".•,••~w'.
                                                                                                                                                                                                 ,v, -~•-C,,.,0.,~•·,
                                                                                                                                                                                                                   •"<<••·   ~•s ":«,,-,,,,...,,~,
                                                                                                                                                                                                                          ,~',                          ~ ··~:j• •




                                                                                                                                                       '                                     \/\ CJ\/\.. "<-:.
      4.1
                                                                                                                                               Last 4 digits of account number                        _                  _
                                                                                                                                                                                                                                                            $   30-0. cfO
                                                                                                                                     , . When was the debt incurred?                         ~ 't5f?J                                          ..   ,   "




                                                                                                 ZIP Code                                 · As of the date you file, the claim is: Check all that apply. ,

                                                                                                                                     · -0          Contingent
               Wh~:r~d-~he debt~, Check one.                                                                                         t•• ,D        j.)f1n"quidated
                ~~~~~1 only                                                                                                          1
                                                                                                                                           ,!!a"    Disputed                                                  ,   ~ .-. : · ~ '   <



                D     Debtor 2 only
                D     Debtor 1 and Debtor 2 only                                                                                           Type of NONPRIORITY unsecured claim:
                D     At least one of the debtors and another                                                                                  D   Student loans

                C3··Check·if this claim·js·tor a community debt                                               ... , ...... ..O.                    Obligations arising out of a separation,agreementor·divorce
                                                                                                                                                   th t ou did not report as priority claims


                                                                                                                                                                      ·=a-ovi e:_ · ~\ · -e;di~:. 1d (!j} , 1Li
               Is the claim subject to offset?                                                                                                          s to pension or profit-sharing plans, and othe'ffimilar debts f
                o No                           .          . ..
                                                                                                        , , k ' ,::: ; -          J, ,,
                                                                                                                                                       er. spe-cify
                                                                                               , r.11       ,_.d~ .• , .           ~' ' M c                                       ·                   \.Vv ~
                D     Yes

      4.2                                                                                                                           ·''Last 4 digits of account number _ _ _ _                                                                          $_ _ _ _ _ _ _ _ ,
               -N-on_p_ri_o,-ity_C_re_d_i_to-rs_N_a_m_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (_When·wa:slhil'de.bt'iiicilrred? "'' _ _ _ _ __

                                                                                                             ,~,~;:,,    .:10        L_.
               Number              Street                                                                        ~l h;      ,.,      /

                                                                                                                                           As of the date you file, the claim is: Check all that apply.
               City                                                           Stat~          · Jl!'l ,Cod,<;,":~,:-'.   "'· .. .i I       D        Contingent

               Who incurred the debt? Check one.                                                                                     l    _0       Unliquidated

               D      Debtor 1·only,
                                                                                                                                          D        Disputed

               D      Debtor 2 only
                                                                                                                                     ; :rype of NONPRIORITY uns~~~i~d'c1~Ym:
               D      Debtor 1 and c5eHtor :tonly                                                                                                                                                             • • -1''

               D      At least one of the debtors and another                                                                              D       Student loans
                                                                                                                                           D       Obligations arising out of a separation agreement or divorce
               D      Check if this claim is for a community debt                                                                                  that you did not report as priority claims
               Is the claim subjectto offset?                                                                                              D       Debts to pension or proli,t-sharing plans, and other.similar debts

               D                                                                                                                           D       Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      No                                                                                                                                                                                                                                                 '--~
               D      Yes

      4.3
               _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _·'_·_·"'_.._·_,'Last 4 digits of account number --..-. _                                                                                          -.___
                                                                                                                                                                                                                                               ~-       $_·_ _ _ _ __
               Nonpriority Creditors Name
                                                                                                                                          .When was the debt incurred?

               Number              Street

                                                                                                                                          As of the date you file, the claim is: Check an tha_t_apply .
               City                                                          .State             ZIP Code                 ..... i          .~

                                                                                                                                       D           Contingent
               Who incurred the debt? Check one.
                                                                                    Unliquidated                                   ,,, D
_ _.,__ _._._...e b t o ~ " l ' - - - - - - - - - - - - - - - - - - - - - - t - t - - , r . = ; r , ; ; . . - - - - - - - - - - - - - - - - - - - - - - - - - - - + - -
          0 Debtor 2 only
               D      Debtor 1 arid'Debtor 2 only                                                                                         Type of NONPRIORITY unsecured claim:
               D      At least one of the debtors and another                                                                                                                                "        •,f•
                                                                                                                                     ,D            Student loans
               D      Check if this claim is for a .community debt                                                                   '. [] Obligations arising out of a separation agreerii;iitdi divorce ·
                                                                                                                                           that you did not report as priority claims
               Is the claim subject to offset?
                                                                                                                                        D Debts to pension or profit-sharing plans, and other similar debts
               D      No                                                                                                                D Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ __
               D      Yes




      Offir.i~I Fnrm 10fiF/F                                                       'SchP.ciu!P. E/F: Crncfitnrs Whn HilvP. UnsP.r.tmid Claims                                                                                                                    n~nf!    nf
                          Case 1-18-42719-ess                                   Doc 19               Filed 07/19/18                                 Entered 07/19/18 15:54:25
 Debto; 1                                                                                                                                       Case number (ii known)
                    First Name        Middle Name



                                                                                                                                                                              \' _1.·
                   Your NONPRIORITY Unsecured Claims - Continuation Page




                                                                                                                 -:Last 4 digits of account number'.:...:.'.:_ _:.___· _·_                                         $ _ _ _ _ _,
       NonprioritY, _<;red~o(s Nam~                                                                                         ,'; ; '·t ..   .    '    i ·,   i   •   ,"'   ,      1~     , '
                                                                                                                   Wheri was the debt incurred'.? ... ~ · - - - ~ ~

      Number             Street
                                                                                                                    As of the date you file, the claim is: Check all that apply.

      City                                                State                 ZIP Code                            D          Contingent
                                                                                                                    o- Unliquidatea
     · Who incurred the debt? Check one.
                                                                                                                    D          Disputed
       D      Debtor 1 only
       D      Debtor 2 only                                                                                        Type of NONPRIORITY unsecured claim:
       D      Debtor 1 and Debtor.2 only»                                       ..•   I>. .   ;,c·             ·,po. Student loans'
       D      At least one of the debtors and another
                                                                                                               C.D Obligations arising out of a separation agreement or divorce that
                                                                                                                               you did not report as priority claims . .          •.•.. , .
       D      Check if this claim is for a community debt
                                                                                                                ... 0          Debts to pension or profit-sharing plans, and other.similar debts
       Is the claim subject to offset?                                                                         (b              Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

       D      No
       DYes



                                                                                                                .''.,Last 4 digits of account number _                                         __::_: ~:o ~
       Nonpriority Credito(s Name
                                                                                                                   When was the debt incurred?

       Number            Street
                                                                                                            .• 1,::~.!\s of the date you file, the claim is: Check all that apply.

      City                                               .. State' u ""''ZIP Code',.,,.                :' ·,.,,. ;JO           Contingent                                                                 ' .. ,
                                                                                                                    D          Unliquidated
       Who incurred the debt? Check one.                                                                            D          Disputed·
                                                    .,   ,1-',.                                                 ;:i:.
       D      Debtor 1 only
      -0      Debtor2 only-                                                                             ,,;:"y LType·of-NONPRi6RiTY·unsecured claim:
       0      Debtor 1 and Debtor 2 only
                                                                                                                Cb             Studentloans
       D      At least one of the debtors and another                                                           '..,tJ         Obligations arising out of a separation agreement or divorce that ·
                                                                                                                               you did not report as priority claims                      ,
       Cl .Chec:k if this clai!ll is for ~-~_9111QJYl]itY;}tepJ.                . .,.· ..· .. ,      n ..       ·: tJ· oebfslo.perisioffor pi'ofit~sha/ingplans, and othe[ si[11iJar,d~~ts.           0




       Is the claim subject to offset?                                                                           , D Other. Specify                                  · ., ... "·"· · ·

       D      No
       D      Yes                                                 ;\. •; ,} t




                                                                                                                                                                                                                   $,•
                                                                                                                    Last 4 digits of account number _ _ _ _
       Nonpriority Credito(s Name
                                                                                                                    When was the debt incurred?
                                                                                                                        j

       Number             Street
                                                                                                                  iAs of the date you file, the claim is: Check all that apply.

       City                                               State                 ZIP Code                                        Contingent
                                                                                                                                Unliguiq'!ted
       Who incurred the debt? Check one.                                                                                        Disputed ·.
       D      Debtor 1 only
       D      Debtor 2 only                                                                                      ~.Type of NONPRIORITY unsecured claim:
       D      Debtor 1 and Debtor 2 only
                                                                                                                    D           Student loans
       D      At least one of the debtors and another
                                                                                                                    D           Obligations arising out of a separation agreement or divorce that
                                                                                                                  : !
                                                                                                                                you did not report as priority claims
       D      Check if this claim is for a c~m~u~ity debt
                                                                                                                        D       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                                            UD            Other. Specify                                                • ~ •
       D      No
       D      Yes




Offir.ial Form 10nF/F                                             ~khP,rl,11le. E/F: Crenitori:: VI/hp Have Unsec:ure.n .Glaims                                                                                     nane.   of
                                   Case 1-18-42719-ess                                                     Doc 19                   Filed 07/19/18                             Entered 07/19/18 15:54:25
 Debtor 1
                            First Name              Middle Name                            Last Name
                                                                                                                                                                                                     '&_--------=-Lf-2----'7_lq__.__,,f,::__::_____:tS=-------
                                                                                                                                                                              Case number (ifknown),_r



                  . Add the Amounts for Each Type of Unsecured Claim ''



  6. Total the amounts of cei1ain'types of unsecured claims; This information is for statistical reporting purposes only. 28                                                                                               u.s.c.'§ 159;
       Add the amou~ts for each'type of unsecured clai":·. ,.                                                                 ''         · ·, ·_      ·      ··       ·   ·      ·         ·    .        ·          ·       ·                ·, ' '




                                                                                                                                                                  Total claim

:?1~.~~! t). '~'j ;~}}\
 ·Total·clair'ns'
                              6a. Domestic support obligations                                                                                     6a.
                                                                                                                                                                  $                  C,        0
--~ro~_:]0:fl~j               6b. Taxes and certain other debts you owe the
                                  government                                                                                                       6b.            $                  CJ,, tr
                              6c. c·1aims for death o'r'pe~sonal lnju'ry wllil~ you were:
                                  intoxicated                                                                                                      6c.
                                                                                                                                                                  $                  o,O
                                                                                                                                                                              ~ 67), crO
                              6d.,,Other. Add c1U_other priority unsecured claims.
                              · '. Write that amount' here. ·· .     .-                                                                            ,6d,
                                                                                                                                                             +$




                              6e. Total. Add lines 6a through 6d.
                                                                              b:
                                                                                                                                                   6e.
                                                                                                                                                                  $
                                                                                                                                                                                1,{}D,cfo                l
                                                                               (·
                                                                               ••
                                                                                     ... ,.
                                                                                     j.            /,.,



                                    Student loans
                                                                                              t:1·;;::.;   :n , - ,,     J.·,. ':'' ..   df···
                                                                                                                                                   6f.             $_ _               ·(!)~~(~)
                            _69._0l:>ligations arisiffg Q,utof~ sep~rationc1grl!ement ..
                                 , or divor,ce thc1t yqu did, n,ot.r~pqrt as priority _ · . .                                                     .
                            _..,!;').;,::·cfalirriS~~i'V'1 v'f1: }:;;, t;o•: C\l,. <.,_ .1·,!· ,: ·: .,/; ;";{. ·~1 ;~: ·.:1~:t:~ :: . . . :n\-v69:
                                                                                                                                                                   $-~-6=---'~o=-·~-
                         6h. Debts to pension or profit-sharing plans, and other
                      ·: ,. ··,~iriliiataebts :-·,·.,, ,_.-. , • '·, ·· ,.. ,_.. · ' - ·
                      ~-. · :•··--~~·."i'L·.-:·itr .. -~-- -'- :•:v·_~.;~
                                                                                         . -·
                                                                                          '·~··:   t,: ~, --
                                                                                                                                                   6h.            $
                                                                                                                                                                   --------=:C-----
                                                                                                                                                                                       o.~o
                                    Other. Add all other nonpriority unsecured claims.
                                    Write that amount here.                                                                                        6i.;-,_
                                                                                                                                                                      (!)~. 0
                                                                                                                                                             + $-----~'---=---
                                                                                                               1-··.-




                    '."'l
                             :6j:::rotal. Add line's 6f through 6i>

                                                                                                            '·:   ,,,   ...
                                                                                                                                                   ·•rl '
                                                                               -~.- ! :




                                                                 }.:..




 Offir.i~I Fnrm 10RF/F                                                                                                                                                                                                                                      nf
                            Case 1-18-42719-ess                     Doc 19           Filed 07/19/18                                              Entered 07/19/18 15:54:25
        Debtor 1                                                                                                                                 Case number (if known)                                 J           i -L/2 Z/<ft~
       •:r.,.;•i:a List Others to Be Notified About a D~bt That You Already Listed


         5. Use this page only if you have ·others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
            example, if a collection agency is tr.ying to collect frpm you for a debt y9u owe to sqm!j!one else, list the original creditor in Parts 1 Qr ·
            2, then list the collection agency· here. Similarly, if you have more than one creditor for any of the deb!;; tha_t you lis.ted in-Parts 1 or_ 2, list the
            additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
              Name

                                                                                       Line              of (Check one):                                    D         Part 1: Creditors with Priority Unsecured Claims
              Number        Street                                                                                                                          D         Part 2: Creditors with Nonpriority Unsecured Claims

                                                                                       Last 4 digits of account number__ __. _ _

              City                                    State          ZIP Code


                                                                                       On which entry i_n P~rt 1 p_r Part.2.did YO!f list the original creditor?
              Name

                                                                                       Line              of (Check one):                                     D Part 1: Creditors with Priority Unsecured Claims
              Number        Street                                                                                                 -··' ,· :.                D· Part 2: Creditors with Nonprib;ity Unsecured                      ·t   '               '
                                                                                       Claims

                                                                                       Last 4 digits of account number _ _ _ _
              City                                    State          ZIP Code


                                                                                       On which entry in Part 1 or Part 2 di_d ypu list the original creditor?
              Name

                                                                                       Line              of (Check one):                                     D        Part 1: Creditors with Priority Unsecured Claims
              Number        Street                                                                                                                           D        Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims
                                                                                                                                                                                                                         ,·,r,I

                                                                                       Last 4 digits of account_ number__ _                                                                              _. _                                              '~:
              City                                    State          ZIP Code                      \ •   1 1,   ~   '"~ '.=°'· -         :·. >     f1   .-. j, ~'   \ :       It, "'          , t,·,.   ':.   ',:

                                                                                                                         ,+;         I    '.•J~ :. ,,          .          !    ,       , ..   '.-,,,•    1'.)v' j •       ,            •:\:       .,

                                                                                       qn which entry in Part 1 or Part 2 did you list the origir;i,al creditor?
              Name

                                                                                       Line _ _'·        of (Che6k bhe): o 'Pa;t f Credit6rs:with .Prio~ity Uns~cured Claims                                         .                     •'(,

              Number        Street                                                                                                                           D        Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims
                                                                                         .
                                                                                       Last 4 digits of account number _ _ _ _
              C~y                                     State          ZIP Code


                                                                                       On which entry in Part 1 or Part 2 did,you list the original creditor?
              Name

                                                                                       Line              of (Check one):                                    D         Part 1: Creditors with Priority Unsecured Claims
              Number        Street                                                                                                                          D        Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims

                                                                                       Last 4 digits of account number _ _ _ _
              City                                    State          ZIP Code

                                                                                      On which entry in Part 1 or Part 2 did you list the original creditor?
              Name

                                                                                      Line               of (Check one):                                    D        Part 1: Creditors with Priority Unsecured Claims
              Number        Street                                                                                                                          D        Part 2: Creditors with Nonpriority Unsecured
                                                                                      Claims


--+---;~=============,;;;ai;;====mffiw=-----=L:::a:::s~t.:::4..:.d:.:i
          v1 y                      ,:uale    .c-11 voue
                                                                      g:..:it=s..:.o:..:f..:.a:..:c:.::c:.::o:.::u::.n:.:t..:.n:..:u::.m:.:.b::.e::::r:.__=·~==----------------------1--
                                                                      32



                                                                                      On which entry in Part 1 or Part'2 did you list the original creditor?
              Name

                                                                                      Line               of (Check one):                                    D        Part 1: Creditors with Priority Unsecured Claims
              Number        Street
                                                                                                                                                            D        Part 2: Creditors with Nonpriority Unsecured
                                                                                      Claims


              City                                    State          ZIP Code
                                                                                      Last 4 digits of account number _ _ _ _


      Offir.i::il Form 10fiF/F                                Sr.hP.ciulP. E/F:-Crnciitors Wf:to H::ivP. UnsP.r.1m'!ci Cl::iims                                                                                                                            n::inP.   of
                            Case 1-18-42719-ess                       Doc 19        Filed 07/19/18           Entered 07/19/18 15:54:25


     Fill in this information to identify your case:


     Debtor                   e,tj, ~
                          First Name                  Middle Name

     Debtor 2
     (Spouse If filing)   Rrst Name                   Middle Name                Last Name


     United States Bankruptcy Court for the: _____ District of _ _ _ __

     Case number
     (If known)
                              I i-Lf-2-7/q IE~,$                                                                                                   D Check if this is an
                                                                                                                                                        · amended filing


   Official Form 106G
   Schedule G: Executory Contracts and Unexpired Leases                                                                                                             12/15
   Be as complete and accurate as possible. If two married people are .filing together, both.are equally responsible for supplying correct
   information. If more space is needed, copy the additional page, fill it out, number the entries, and ·attach _it-to this page. On the top of a'riy'
   addition.al pages, write your name and case number (if known).


    1.                have any executory contracts          or unexpired leases?
                 No. Check this box and file this form with the court with your other sche.dt.iles. You. have nothing else.to report.on. this.form ..
          D      Yes. Fill in .all of the information below even if the contr~cts or leases are listed on Schedule AIB: Property (Official Form 106AfB).
                                                 .                                            ..
    2. List separately each person or company with whom you have the contract or lease. Then state what each contract or'li?ase is for '(for
          example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
          unexpired leases.    .)                                             · • .. ···   ··                    ·                   · ·-




          Name
                                                                                                                        .,       ._-·._·'

          Number            Street

          City                                State        ZIP Code
     ---------------------------------------------------------f·
   ~
                                                                                                                                                                            3

          Name

          Number            Street

          Citv                                State        ZIP Code
      :
   2.3:
   __j

          Name

          Number            Street

          City                                State        ZIP Code


   ~      Name


---+--•·~·umbei:---Stre.....
                       -•----------------------------------------'------------

          City                                State        ZIP Code


   ~  -------------
    Name

          Number            Street

          City                                State        ZIP Code


   Official Form 106G                                 Schedule      G:   Executon/Coritracts·and Unexaifed   Leases                                       oaoe 1   of
                      Case 1-18-42719-ess                   Doc 19     Filed 07/19/18                      Entered 07/19/18 15:54:25

 Debtor 1                                                                                             Case number  (it 1<nown)
                                                                                                              . • • t_




 -                Additional Page if You Have More Contra~ts or Leases

        Person
           .  .
                or company with
                           .
                                                                 br
                                whom you have the contract 1 lease
                                                              "~···· - --·~




         Name


         Number      Street


         City                         State      ZIP Code
                                                                                                                                                                                ,,
  2.
        ·Name


         Numb~~-     ~\J:eet -.                                         .,                                        .1-t                                   -·..:L,.:;:

         City                         State      ZIP Code


  2.-
         Name                                                                                                                             .:;, .
                                                                             .r·,.
         Number.,
           -1;  •
        ·;;;:
         City                         State      ZIP Code


  2.
                                                                                      . I,\ ...   'i '•"';" ··~      ~   .,,,J :. ;   _;    ,,.              , . :· ·[,'..:f:        .qr-..::-·
         Name


         Number      Street


         City                         State      ZIP Code
                                                                                                                          . ---·      ~   ....,.,   .

  2.
         Name


         Number      Street                                                                                                                                                                                    -.

         City                         State      ZIP Code
                                                                                                                                                                                                               '

  2.-
         Name


         Number      Street                                                                                                                                                                           -- ..'

         City                         State      ZIP Code


  2.                                                                                                                                                .   ·(    /"




         Name


         Number       Street


         City                         State      ZIP Code


  2.-
         Name


         Number      Street


         City                         State      ZIP Code



Official Form 106G                            Schedul~ G: Executorv Contracts and :!,Jnexoired ,Leases                                                                                        oaae-     ·of
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  Debtor 1

  Debtor 2
  (Spifuse, if filing) FtrSl Name                             Middle Name                      Last Name


  United States Bankruptcy Co_urt for the: -----'----- District of _ _ _ __

  Case number
  (If known)
                          l S(- 4-t-7 /.v/ £S >                           ·
                                                                                                                                                          0       Check if this is an
                                                                                                                                                                  amended .filing

Official Form 106H ·
Schedule H: Your Codebtors                                                                                                                                                  12/15
Codebtors are people or entities who are also liable for any debts you may have ..Be as complete and accurate as possible. If two married people
are filing together, both -are equally responsib.l,e for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries.in the boxes ori the ieft. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer ev~ry. qµ~stion:.

  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

       ~ N/"
       IIJ.-'fes
  2. Within the last 8 years, have y9u_ Hl,'.ed in~ community property state or territory? (Community property states and territories include
      - Arizona, California, Idaho, t.'ouisia~a. Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)                                          .
        KGotoline3 .. ·                 .                              . .    . .. . . .   ..        ···    ...     ·

       D    Yes. Did your spbuse, former spouse, or legal equivalent live wit,h you at the time? .

               D   No
               D   Yes. In which community state or territory did you live? _ _ _ _ _ _ _ _ ._ Fill in the__name _and curr~nt _address 9_f tll_?t_pers9~_. ..
                                              ..   -.   ,''    ''t-_:.j          '                "



                   Name of your sp9usi,, fol)'ller s·pouse, or legal equivalent



                   Number            Street



                   City                                                       State                        ZIP Code --


 3. In Column 1, list all-of-your codebtors:Do ·not include your spouse as a codebtor if your spouse is filing with you. List the person
       shown in line 2 again as a codebtoronly if that person is a gu·arantor or cosigner. Make sure you have iisted the creditor on
       Schedule D (Official Form 106D), Schedule EIF (Official Form 106E/F), or Schedule G (Official Form 1 OGG). Use Schedule D,
       Schedule EIF, or Schedule G to fill out Column 2.




         Name
                                                                                                                            D   Schedule D, line _ __
                                                                                                                            D   Schedule E/F, line_.__
         Number             Street                                                                                          D   Schedule G, line _ __

         Cit                                                                     State                      ZIP Code

3.2
         Name
                                                                                                                           D    Schedule D, line _ _ _·
                                                                                                                           D    Schedule E/F, line _ __
                              ree


         City                                                                    State                      ZIP Code

3.3
         Name
                                                                                                                           D    Schedule D, line _ __
                                                                                                                           D    Schedule E/F, line _ __
         Number             Street                                                                                         D    Schedule G, line _ __

         Cit                                                                     State                      ZIP Code



Official Form 106H                                                                       Schedule-H: Your Codebtcirs                                              oaae 1 of ·
                            Case 1-18-42719-ess                                  Doc 19         Filed 07/19/18         Entered 07/19/18 15:54:25

 Debtor 1                                                                                                           . Case number (it_known), _ _~ - - : , : . - - - - ' - - - - - - ~ ~
                      First Name              Middle Name            Last Name




                    Additional Page to List More Codebtors
                                                                                                                                                                                                                 .           ;•.,,,.:(1,,-,.

          Column 1: Your codebtor                                                                                           Co/timn:2: Ttie               c'recfitof tcfi.iiih<fm YOU owe' th~· :~i;bt
                                                                                       t
                                                                                      ·i
                                                                                                                           · ·cneck all schedule·s,thalapply;f·;.:. ;,,,~ :, c-,-·.:'., •·, !                                             ·
 3,_
                                                                                                                             D     Schedule D, lirie _ __
          Name
                                                                                                                             D     Schedule E/F, line _ __

          Number             Street                                                                                          D     Schedule G, line-.__


          Cit                                                             State                      ZIP Code

 3,
      -                                                                                . I'.,                              ·D      Schedule D, line·_-_·__.
          N~me
                                                                                                                          .-P
                                                                                                                                    .f        •:, . :_:          • -~   '       •'       '·        . ,-

                                                                                                                                   ~ched~l.~,E/F,,\jne_"_-_._- .,

          Number             Street
                                                                                                                             0     Schedule,G·;·lihe _,_:_ · -

                                                                                                                                                                                . . r.
          Cit                                                             State                      ZIP Code

 3,
      -                                                                                                                      D     Schedule D, line _ __
           Name
                                                                                                                             0     Scliedul~ E/F, iine ·_·__· _·.
                                                                                                                                                       ·er···               : ·· ·
           Number            Street                                                                                          ·o    Schedule G, line _ _


          City                                                            State                      ZIP Code


 3.
      -                                                                                                                        • •• -.,".>f        )
                                                                                                                             D ·Schedule D, line ___ ·
                                                                                                                                                          ••    ·:          •        •        j·


                                                                                                                             D Schedule E/F, line _ __
           Number            Street                                                                                          D Sche·dule G;·line _·,_._._._--.                                                  ,_,__.


           Cit                                                            State                      ZIP Code


                                                                                                                             0      Schedule D, line_·_ _ -
           Name

                                                            ,, .,,                                                           D      Schedule
                                                                                                                                     -i,, .• ','E/F,.,.,line           .
                                                                                                                                                           •. -.-.--.--,:                                 1·.


           Number -      _,,,Street~~--.,                                                                        •,-a,-",-,---,,_-..,_D, Sc,hedu_l~,G,,line.=;"I" '· ,~,,,                                           ,.c,.·,··~·;:_,~o,

                                      \ _s,
                                                                                                                                                                                                                -; •·
           Cit                                                            State                      ZIP Code

   -1.
                                                                                                                             D      Schedule D, l i n e ~ ,
           Name
                                                                                                                             D      Schedule E/F, line _ __

           Number            Street                                                                                          D      Schedule G, line _ __


           Cit                                                            State                      ZIP Code



           Name
                                                                                                                             D      Schedule D, line ___
                                                                                                                             D      Schedule E/F, line ___

           Number            Street                                                                                          D      Schedule G, line ___


           Cit                                                             State                      ZIP Code



           Name
                                                                                                                             D      Schedule D, line ___
                                                                                                                             D      Schedule E/F, line ___

           Number            Street                                                                                          D      Schedule G, line ___


           c~                                                              State                      ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors -_ -                                                                                              oaae                of
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      I
      I    \




           Debtor 1
                                                                 Middle· Na,me

           Debtor2
           (Spouse,     ~ filing)    First Name                  Middle Name                Last Name
                                                                                                                                                                                                                  . /,
           United States Bankruptcy Court for the: _____ pi strict of _ _ _ __

           Case n~mber
               {If known)
                                       Lrti-LfZ--7 l 7f /£$3 ·
                                       1                                                                                         Check
                                                                                                                                  • j (,
                                                                                                                                            if this ' is:..
                                                                                                                                             ~
                                                                                                                                         :"' •• '                         _-   !   . ~
                                                                                                                                                                                                     "        '


                                                                                                                                 D An amended filing.                                            1
                                                                                                                              ··tJ,A su.ppJe:~~~.~ shq~i~g p~~tp~titi_?~ chapter 13
                                                                                                                                 · · · income a's"of the following date: , · ·
          Official Form 1061                                                                                                           MM/ DD/                  YY'ft.
                                                                                                                                                                  _,r,.,
                                                                                                                                                               v,.\J

                                                                                                                                                                                                                                           12/15
          Be as complete and accurate as p.9ssible. If two married people are fil[!!gJ~g~!h~r (De_l;>J9r 1__ ar:i~. Q~.b~r 2), bqth-a~e equally responsible-for
          supplying correct informaticfn. If you are mafriedand not filing jointly, and your spouse is living with you, include information about your spouse.
          If you are separated and your spouse is not filing with you, do,not·inclu!ie,information about your spouse.'lf..more·.spaceis1nee,ded;-attach a:,
          separate sheet to thiiHofiii:'Ordhe top of-any additional pages, write your name and case number (if known). Answer every question.


           ~ , , , Describe Employment


          1. Fill in your employment
                 information.
                 If you have more than one job,                                                                                                                      'Jr:~~-)       h,.;   }I t;,1;\,._.'..                    . !/_..'~
                 attach a separate page with
                 information about additional   :, Employment status. :                                                                                  ·••    'C:i' EinJ,gyet(' .. :: .::~'
                                                                                                                                                               01

                                                                                                                                                                                             1
                                                                                                                                                                                                                               1
                                                                                                                                                                                                                                :··::~

                 employers.                                                                                                                                          0 N9.~   e( ryJ~ ,l9y~d·.~- :" ,,:; .::.
                                                                                                                                                                         ~,.. 1 1 ;; !J1 . ',.1 , . '              j   ,   ~    .J~' ..


                 Include part-time, seasonal, or
                 self~employed work.
                                                               Occupation
                 Occupation may include student.
                 or homemaker, if-it-applies:-·· ·
                                                               Employ_e_[SJJ~ITI~


                                                              Employer's address

                                                                                                                                                                                                                                 ·-;.\,


                                                                                             '(




                                                                                               City         State       ZIP   Code                             City
                                                                                                                                                                "•   ~.                                       State ZIP Code

                                                         .,
                                                              ·How
                                                                I
                                                                   long
                                                                    !,
                                                                        employed ,.there?,..
                                                                                        '    ~
                                           :;-"


                                 .:G(ve Details.Abou.t Mon.thly Income
                             •   ~   .·.,.:          '             t~ '    .



          ... · Estimate·monthlrincome as of the date you file· this·fo~. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                spouse unless you are separated.                              ..-..,,., ·. :, ,,, ·:, -- _.t;,' : c,.-,. r;          .. c
                If you or your non-filing spouse have more than one employer, combine·the 1infotmation for all employers for that person o"n' the lines
                below. If you need more space, attach a_ separate sheet to this form.
                                                                                                                  f4J'.\~J;:~;~~)l't{H .t.1~§.r      J .:',    VC.L-~f\if: ::uv_:,:-iFF. VfH
                                                          •· \ -~~[jDe~t_o_r 1                                       For Debtqr 2 or ·.
---+--------------------,-------,-,::---,-----,------,-,-.,..,,==-=,:r::"'""""'"r'"'.·""··~;.,m,,,,-,"-"r""·--""-·--""·-=11onafiling,.spouse.,________~ - - - -
     .... 2:: Cisfmcmthly gross wages,s;i_lary, c1nd:~ommission~.(qefore all payroll                         ,,   ,, ;.'·
             ·ge~u_ctions). If not paid monthly, calc~l~te, what. the mon\hly._'l(age woµld be.             2.      '/$     '() ,/)                                  $·

           3.1 Estimate and list monthly overtime pay.                                                      3. +$             eJ,o                       + $


                                                                                                                                                 ·l I·
                                                                                                                                        ;,       >




          · 4: Calculate gross income. Add line 2 + line 3.                                                 4·_       $       (?\ 0-                                 $

                                                                                                                                                                                    . ...........................-------···--·--------


       Official Form 1061                                                             Schedule I: You~ Income                                                                                                                    page 1
                                      Case 1-18-42719-ess                                            Doc 19              Filed 07/19/18                 Entered 07/19/18 15:54:25

          Debtor 1
                               First Name              Middle Name
                                                                                                                                                     Casenumberc;tknown)

                                                                                                                                                                              . :t
                                                                                                                                                                                  t ~-Lf2711£fS.
                                                                                                                                                                           , _ ',/"         :·2..i.'r~:: :·,;,~: .:·. ~":
                                                                                                                                                                                                t~_; '• ~-        ,J".::
                                                                                                                                                                                                                            .;~-t   ,i,1: _

                                                                                                                                                                                                    ;,_;.:;
                                                                                                             _.....;.__.;___.:..c_-'------"---'------'-'o.......---'-------,..'--~~"~..-',·.....OC..:.....o...--'---"--'----
                                                                                                                                                    For Debtor 1            For:Debtor2 or
                                                                                                             .                                                              non-filing spouse
                                                                                                             \

               Copy line 4 here ..........................................................) ..................................            ~ 4.      $     (2,0                    $_ _ _ _ __
                                                                                                             \


           5. List all payroll deductions:

                Sa. Tax, Medicare, and Social Security deductionsi                                                                          Sa .. ,$_ _ _ __ o.o                 $
                Sb. Mandatory contributions                          for rJtirementplans                     .                              Sb.              c~,    o
                                                                                                                                                    $_----\c,=4-''---'=          $
                Sc. Voluntary contributions                         fbr r~tir~mentplahs                                                     5c:     $ _ _ _ __                   $
                                                                                                                                                    $ - -CJ,O
                 ,,,.;     r   ,· r-    ."\.           ::·,.   .        ::         '   , .      ;   _!
                Sd: Requireµ_repaymeo~s of,r.(!tirement f~nd loans                                                                          Sd.          ~--                     $
                           :· - ,. ,'. ' -· /,) :;,.. .  . :

                Se. Insurance                                                                                                               Se.
                Sf.
                                               .. .
                         Domestic support obligations                                                                                       Sf.
                                                                                                                                                                                 $---~-~                                    j,,




                                                                                                                                                                                                                                    .),,'.: .·--2:"


            7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                           7.     $_ _ _ __0,0
            8. List all other income regularly received:

              Ba. J:l~J.)~corp_e.fm!Aff.~t~IJ~~c:>_perty and from operating a b~sines~, ..
---+-,--.--.-profession,--0r,-faR11-- . ..... - ···-- .. " .. ·-·····--~· . ·····-· .. -······ . :....


                                                                                                                                                        ~ l,,S,~,~ ~' $
                  Attach a statement for ea·ch property and business showing gross
                  receipts, ordinary and necessary business expenses, and the total .                                                               $
                  monthly net incoifie:'·':'·•·:- ,.~:                                         ···,,·, ·,;·;-- ': "·Ba.
                 Bb. Interest anddii}lci'J¥ici§''                                                                       ;., ,·: ·· ,re.      Bb.    $
                                                                                                                                                         I     O,     a·          $_ _ _ _ __

                Be. Family support payments that you, a non-filing spouse, or a dependent
                    regularly receive
                         lndudealimoiiy;spous·a1 support, chfiifsupporfmafntenance: dfvorce·
                                                                                                                                                    $
                         settlement, and property settlement.                                                                                Be.
                ~.d ._ JJ_o_e!llplQym.en\ cqmpeosati.e>,n                                                                                 __ 13g.
                 Be. Social Security                                                                                                         Be .

               ..Bf..QJher govemmeot .ass.ist11nc.e that.Y.ou regularly. rec.eive             _. .
                     Include cash assistance                       and 'tfie
                                                       value (if known) of any non-caslf assist~n~
                     that·you ·receive; such,as,food stamps (benefits·under·the·Supplemental
                     Nutriiion Assis'tance                Program)
                                                     Or hoiising subs1ci1es-:- -- .. -·--· ..  .
                     ~pecify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                         Bf.                                              $

                Bg. Pension or retirement income                                                                                             Bg.
                                  .            '



                 Bh: Other monthly income. S p e c i f y : - - - - - - - - - - - - - -

            9. Add all other income. Add lines Ba + Bb + Be+ Bd + Be + Bf +Bg + Bh.


           10. Calculate rJ'\Onthly income. Add line 7 + line _9.
              ·Add ·the entries·· rn line 10 for·Debt0r~1,and ·Debtor·2 or·non-filing spouse. · ·
                    . . ,,                   ~  __ ; !t .  - !\"'         ' :", _. ._,>"
           11. State all other regular contributions to the expenses that you list in Schedule J.
               Include contributjons from an unmarrie_clipartr:ier, members.of your household; your dependents, your roommates, and other
               friends or relatives.                              ·
               Do not include any a~OUl)tS alre~~.Y included in                                     iiz~~.?.,~10 or amounts that are not available to pay expenses listed in Schedule J.                                      (j ', 0
               Specify: _ _ _ _ _ _+ - - ~ - - - - - - - - - - - - - - - - - - - - - - - - - -                                                                                                        11.     +      $-~-~-~-
           12. Add the amount in the last column of line 10 to the amount in line 11. The result-is the·conibined monthly iricome::::
               Write that amount on th~ Summqry of Your Assets and L_iabilities and Ce'rtaih Statistical Information, .if it applies ·                                                                12.
                                                                                                                                                                                                                     Combined
                                                   -                                     -. -            ~
                                                                                                                                                                                                                     rtfonthly'income
                                       ct ~IJ iri.crea_se o~ de.creas_e withio the year .1fter you file this form?
                                                                               I




           Official Form 1061                                                                                     Schedule I:\ iYour Income
                                                                                                                           ~
                                                                                                                                                                                                                           page 2
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                                                                                                                                      Check if this is:
      Debtor 2
      (Spouse, ff filing) i:;rst Name                     Middle Name                   Last Name
                                                                                                                                       D An amended filing
                                                                                                                                      -D A supplement showing postpetition:chapter-13
      United States Bankruptcy Court for the: _ _ _ _ _ District of _ _ _ __
                                                                                                                                          expenses as of the following date:
      Case number
      (If known)
                             /    ~ -tfZl 19                    t )5,                                                                     MM/ DD/ YYYY




    Official.. Form
                 .. -- .
                   .
                         106J"
                          - -- ..       .
                                                                                                                 ;   -~   - '•




    Schedule__J;_ Your Expenses                                                                                                                                                                                                                               12/15

    Be as complete and.accurate as possible. If two married people are filing together, both are equally responsihle·for supplying co·rrect ·
    information, If more space is n_eeded, attach another sheet to this form. On the top of any additional pages,·writ~_ you,r nam_e a_nd _case nµrnber
                                                                                                                           3
    (if known). Answer every·question. ·-                                                                · ··      · '· ·" -·      '      ·· · · " - - ·' '

                                                                                                                       '\,•.,.       ':,:.{ ,:

                  Describe Your .Household
                                        ,

    1. Is t~~ joint case?__

       lEl'No. Go to line 2.                ~
       0      Yes. -Ooes· Debtor·2·1ive     ·ih a separate household?
           ----··- ~0.N~>_, ·--,. -                f..:                                             ~;f,:;::.i: ;'•C ,-:.,:;;1·J~}?t;·11 _:·:. ::f,   ,'. .:-.    n.     ·:··:J,-,.~.1 •    .;,_. .:      , ,....   tj:;;         _!ri:J;'i!,...,i!,;;':."':::·.~~         r·

                   _0    Yes. Debtor 2 m4.st file ,,Official I: rm 106J-2, Expenses for Separate Household o(pt3p{pr,,2., . _1;-::                                                            ~-     ,,;to._ 11 , ;r, 0 :, ~!r;-.:Ji ,,;C,

    2. Do you have dep,endents? ·
                                                            No                                         Dependent's relationship to                                          Dependent's                                     ,         DoeJ B~~~;~~ent                     nt~
       Do not list Debtor 1 and                      0      Yes. Fill out this information for'- 1''-Debtof'-1 o'r Di:ibftir·2 .·1 ',,;,
                                                                                                                                 0
                                                                                                                                                                   • 1  .i~~a·gtt · :· :-,:.;,\:: :.:~f :· Yiith!YOU1 n                                  1
                                                                                                                                                                                                                                                                 ·:,..,
                                                                                                                                                                                                                            i
       Debtor 2.                                            each dependent... ..................... ..
                                            ;.~-                                                                                                                                                                        :/.:i,.c:~:r;Ncf. : - ~c·
       Do not state the de-pende.nts'
       names ..                                                                                                                                                                                                        .,. ,_-O-Yes-

                                                                                                                                                                                                          ,<i··,_ .,,.D:,No,.
                                                                                                                                                                         ----                                        D Yes
                                                                                                                                                                                      : . j~.•                      ~·.. ·:' ,:                  •'I/_

                                                                                                                                                                                                                                      0    No
                                                                                                                                                                                                                                  ,q       Yes               ,"';!,



                                                                                                                                                                                                                                      0 No--
                                                                                                                                                                                                                                      0 Yes
                                                                                                                                                                                                                                - trN~.
                                                                                                                                                                                 • :•.,_,    i     I \:      ~
                                                                                                                                                                                                                                  -{1-'i'es
                                                                                                                                                                                            I . . \_.'.._,_,,.
    3. Do your expenses-include -
                                                     ~o
       expenses of people other than
       yourself and your dependents?                 0      Yes


                       Estimate Your Ongoing Monthly Expenses
1 Estimate your expenses as of your ,bankruptcy                         tiling 'ci~ite urlle;s· you are us)ng ihi~'ti,,rm. as :a·~~ppleme~t-in a:Ghapte~ 1j !=~S~ tq~report .
; expenses as of a date after th/bankruptcy is filed. If this is a sup_plemental Schedule J, check the box at the top of the form and fill in the
'. applicable date.                                                         (:,·: f ' : J, :                           ,_.. , >        . . . :~"                                                                                       . .                            '
;

j Include e_xpenses pa~d for ~it~_non-cash government assistance if ~_ou l<_r:)OW ~he yalue of                                                                                                                                    .               :sr..;Jt..'<.i:,
; such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                                                                              Your expenses                                                   '

. 4    ~~~ :~t~~~:=::~ip expe~~ei' for y~id~~c·~ ··1~~!11dPJir.sLmortgag~ paymeols-and----4-.----,$=--_....~""~"'/:-;-·...,7r",t)(),-'
                                                                                                                              .,. _.,. _                                                                                                       7.-,_-10""'V ' +'½.. _·.- - - - , - -



        If riot_ included in li_ne4:                                                                                                                                                                      ~                 07· d                                ··1·
        4a.     Real estate taxes                                                                                                                                4a.-            $ ..-. ---~ ·
                                                                                                                                                                                                          .
                                                                                                                                                                                                                            ~Y,D      f              f

        4b.     Property, ho_meowrier's, or re_nt~r's insurance                                                                                                  ,4b.            $                  .     J~                .> · , ·.- ifl).
                                                                                                                                                                                                                             -tr71 ..
        4c.     Home maintenance, repair, and upkeep expenses                                                                                                ~ .4c.              $                        /':               ~ dV,c- (JO
        4d.     Homeowner's association or condominium dues                                                                                                      4d.             $_ _ _ I_ _ __,,_""--...,.~~                  6!0
Official Forni 106J                                                           Schedule J: You'r"Eicpenses                                                                                                                                      page 1
                                Case 1-18-42719-ess                       Doc 19                     Filed 07/19/18                                 Entered 07/19/18 15:54:25


     Debtor 1                                                                                                                                      Casenumbe~(ilknown)                         Ii~ tf.271 qffS
                                                                                                                                                                                                            -·-·---..---. ....... -..·-~~-~·--
                                                                                                                                                                                                                 Your expenses
                                                                                                                                                                                                                                                                 ~    ,,


      5. Additional,mortgage.payments for your residence, such as home equity loans                                                                                                          5.
                                                                                                                                                                                                               $_ _ _ _ _ _ _ _ __               -6, 0
                                '-'
      6.   Utilities:

           6a.    Electricity, heat, natural gas                                                                                                                                             6a.               $                         72Lf"lf
           6b.   Water, sewer, garbage collection                                                                                                                                            6b.               $                         7;L9F-r1.
           6c.                                                                                                                                                                               6c.              -$                          crG~ov -_
                                                                                                                                               .-·..
                                                                                                                                               '                                             '.6d. '· ..$;               ;'   :! ,. f.6;~;·b_kl6 {Jl)
 ! 7. Food and h_ou.~e~e-~ping}~Upplies .. .,                                    .1.,,                 , . :- ,,                                                                    ·<       7 ..       :    .$ ... ,·:·:·:·,- :·:,«5(f'q, OO
 I a:·     ·ti-ludcai-'Efa'nldiiidiiialls'ec1Jcation costs'                                                                                                        . ,;-          )C• ,:,:   a''               $ ,. . ,·,<";' '. '"·                  ·6 ,'it),, .
 \ 9.      Clothing, laundry, and dry cleaning
-IW- _p~[SQfla!     _ca._r_~_p[g_pJ:1,cJ~.;t!:1.l!.~11r:yi!,E:!~. _
                                                                                                                                               .... ·····- ------· .•. •••:~ ·;::
                                                                                                                                                       _
                                                                                                                                                                                                                        : , ' ·,·          ~M~, L
                                                                                                                                                                                                                                           _

 !11.
 j
           Medical and dental expenses                                                                                                                                                       11.               $                   ·-~/4.CJ?J.~: ~ i
                                                                                                                                                                                                                                     i


 ·     . Transportation. Include gas, maintenance, bus or train fare.                                                                                                                                          $                    · {--, •   3 0 .· Ot)_
           Do not include car payments.                                                                                                             \·:,::                        -. ·_-:,;12: . : ,. · 11          ·                -,·   •   k__
                                                                                                                                                                                                                                                 ; ·_
                                                                                                                                                                                                                                                   _·   s_> ,,· rfo
       _Entedainment,...c.lubs,..recr.eation,...llewspapers,..magazines,and--books.--------------'13c--$=====::b==::::===::::----7 -
       .   Charitable contributions and religious donation~.                       ).    C   ••• •    ,,,;,        ,,.                                                                       14.             . $ 1' ' ' '          ;,,t(,o-i). cJ""'O
 j 15.     _ln~.~~~p_c';:: _,  __  ..    _,                       ., . . .     . _ _-.
                                                                                 1
           Do not.in~lude insurance deduc_ted from your pay or inclu.ded in lines:4..or 20., ,,.-

           15a. Life ins.~rance                                                                                                                                                              15a.
                                                                                                                                                                                                               $              L'               10::oc/
                                                                                                                                                                                                               $_:_::_
                                                                                                                                                                                                                     ..__    , 1_"____.'
                                                                                                                                                                                                                       ,,-_,,__      ....· .c:;2_·=-=-~·_;'·o:_·~1-
           15b. Health insurance                                                                                                                                                             15b.

           15c. Vehicle-i~surance
                    ..      I
                                                                                                                                                                                             15c.              $_ _                            ~6'---..    -=o'----·
           15d. ·ofher insurance. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                                                  15d.              $_-- - - - - - - - -

 16.       Taxes. Do not-include taxes deducted from your pay or included in lines 4 or 20.
           Spe9ify: """"''~-·...::i;;....._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                                         16...             $

     17. Installment or lease payments:
                         ''.) .
           17a. C9r pay_fnents for Vehicle· 1 ··                                                                                                                                             17a.              $

           17b. Car payments for Vehicle 2                            \                                                                                                       -~\<_          17b.              $

           17c. Other. Specify:              ~~ ~ \ £.v-/                                                                                                                                J7c.                  $
           17d. Other. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                                                      17d.               $
                                                                                                                                                             ..<      .   '                    ~- .-,
 f18.      Your payments of-alimony, maintenance, and support that-you·did not report as-deducted from
           your pay on.line 5,'Scliedule I; Yout'lncorhe'(Official Forfu:1061).    -       "'      . - · ·'                                                                              . 18.                .$
                                                                                                                               ',-'   .   (,
                                                                                                                                                                                                        ,_/      -------~---.:-·:;

 \19.      Other payments you make to support others who do not live with you._
           Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _---'-·-·_:._,_.-_,
 !
                                      '...                                                                    ,.    ,:,::···
 ,20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
           20a. Mortgages on other-property                                ·'                .                           .       ,    ~, .                   :. -··           .     .    ..2oa.                $_-_ _ _ _ _· ·...coc..,-_-._o.,,·
                                                                                                                                                                                                                                           .. · ~

           :tab. Real estate taxes                                                                                                                                                           20b.              $$ _ _._,,_!!)=.-_~-.                    ·a_. _:_-
           20c. Property, homeowner·s:or renter's insurance

           20d. Maintenance, repair, and upkeep expenses
                                                                                                                                                                                             20c.
                                                                                                                                                                                             20d~
                                                                                                                                                                                                                   -----~o~-~---
                                                                                                                                                                                                             - $_ _ _    ___.-0_.
                                                                                                                                                                                                                                                        0
                                                                                                                                                                                                                                                        ....c:o:_·_


           2oe. Homeowner's association or condominium dues                                                                                                                                  2oe:              $_-_ _ _                    ·-~(2~r_0_,_'_

  Official Fqrm 106J                                                            Schedule J: Yo_u,r Expenses                                                                                                                                                  page 2
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  Debtor 1                                                                                                                         Case number (ii known)
                  First Name    Middle Name             Last Name




'21.    Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                            21.   +$._ ___,6=·_,_o_--_


'22.    Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                                                                    22a.

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                                            22b.                     O,o
                                                                                                                                                                  $· - - - - = - - - - -

        22c. Add line 22a and 22b. The result is your monthly expenses.                                                                                22c.       $    :S~WJ.~I
!23. Calculate your monthly net income.
       23a.   Copy line 12 (your combined monthly income) from Schedule I.                                                                              23a.
                                                                                                                                                                   $    3,4-i's.oz---
                                                                                                                                                                             f

       23b.   Copy your monthly expenses from line 22c abo.ve.                                                                                          23b.      -$   3 ~ t/--if3 (57
                                                                                                                                                                         I

       23c.   Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                                                                    23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?




                    S\)¥17r~- --              . . . -e~~$e •.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




Official Form 106J                                                     Schedule J: Your Expenses                                                                                   page 3
                            Case 1-18-42719-ess            Doc 19         Filed 07/19/18                Entered 07/19/18 15:54:25




Debtor 1

Debtor 2
                   Fi~lff       WlR_.      Middle:!6       =5
                                                         VV\      Last Name



(Spouse, if filing) Fi~t Name              Middle Name            Last Name


United States Bankruptcy Court for the: _ _ _ _ District of _ _ __

Case number
(If known)
                        (   g ~ ·1+2- "7 (. ~ f;.. S 3
                                                                                                                                D Check if this is an
                                                                                                                                    amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                         12/15

 If two married people are filing together, both are equally responsible for supplying correct information.

 You must'file this form whenever you file bankruptcy schedules or amended schedules .. Making a false statement, concealing property, or
 obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                   Sign Below



                   pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


                     Name of person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach Bankruptcy Petition Preparers Notice, Declaration, and

                                                                                             Signature (Official Form 119).




      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.




        Signature of Debtor 1                                        Signature of Debtor 2


                                                                     Date _ _ _ _ _ __
                                                                              MM/ DD /   YYYY




 Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
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                                        ;,
                                        ..,                                            ;, .


                 ,r

           ', J,7,             ' . .)




                                    ,: 1: -,   t .: ·       ,·.::          , '..I~·;




                                                        - • ! ,- '   .~                       l.
                                                                                              - . .:<:~:_._ ~-· -·
                                   Case 1-18-42719-ess                                           Doc 19          Filed 07/19/18                            Entered 07/19/18 15:54:25




    D!3btor .1 __
                                                                          Middle Name
                                                                                                                       /     ';;._
    Debtor 2
    (Spouse, if filing) Rrst Name                                         Middle Name ·                     Last Name·. ·


    Unfted States Bankruptcy Court for the:                       f'.tl:81~istrict of /VfAAJ_ytrfk
    Case number
    (If known)
                                   I 8 -lfZ1A 61 ·es?<:s                                                                                                                                                                                0 <:::heck if this is an
                                                                                                                                                                                                                                           amended filing

                                                                                                             . -, ' ~-::·•·'it



  dHida1·torm 101
  Statement.of Financ.iat Affairs for lndividaal~}=~Ung for:,Bankruptc}' ·                                                                                                                                                                               ,.,.,1°,        04/16
                                                                                                                                                                   --              ,,                 .-,                       ,            .
  Be as complete and accurate as possiblerlf two married people are filing togetlier/both ar'e·equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer.every.que~_tion.                                                    ·


                      Give Details Abou't Your Marital St~tus and Where You Lived e~,~~e                                                                                                 ;       ~'


                           .                         T .,;:~: ; __ ; .    ',1.
                                                                                                                                                                                        .,
   1. What is your current marital stc!tus? ,
                     . ~ .. - ~ --· .. t.
                                                              •   f

         OM~
         lil1Jot married


                                                                                                                                                                               ,.•,,-t-.-:
   2. ~ t h e 1~~~-3- ytiars'. have you n:~d~anywhere o_t~erthan where you live ,~o~~ ,,
                                                                                                                                                                                                 l


                               1

                                                                                                                                                                        -:--n ,,
        o ve·s·.- Lisi ~II ci't'the place~ y~u lived' i~ the i~~t i ye.a rs.· Do not include whe;~-y~~'n~~ now.
                                                                           ·,-, ·;::   .-· ._:
                                                                                                                                                                                                                                           •·. Dates Debtor 2 ;_
                                                                                                                                                                                                                                           : · '· nvec1Tu\4~1  ··
                                                                                                                                                                                                                                                 .                  ("



                                                                                                                                         D   Same as.Deb\or:1,- ,                                                                           D             Same as Debtor 1

                                                                                                   . From                                                                                                                                                 From _ __
                    Number-                 Street                                                                                           Num b!3r -St_r13et.
                                                                                                    To                                                                                                                                                   To




                    City                                              State ... ZIP Code                                                     City

                                                                                                                                                                                                                                          .D             Same as Debtor 1

                                                                                                    From                                                                                                                                                  From _ __
                    Number                  Street                                                                                           Number Street ·
                                                                                                   · To                                                                                                                                                  To




                    City                                              State ZIP Code                                                         City                                   State                   ZIP Code


   3.               the last 8 years, did you ever live with a spouse or legal equivalent in a community property·state or. territory? (Community property
                 s·and territories include Arizona, California, Idaho, Loufsia.ria, Nevada, New Mexico, Pue·rto Rico, Texas; Washington,. and Wisconsin.)
                               '                .                                                                                        •                                                   •                '. '.   ~ .   :       '      • ' I     •




                                   ·,       .                                                                                        .        .
        D    Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 •ijfj              Explain the Sources of Your Income

Official Form 107                                                         Statement of Fina~cial'Affairs for Individuals Filing for Bankruptcy                                                                                                               page 1
                                     Case 1-18-42719-ess                              Doc 19                     Filed 07/19/18                                  Entered 07/19/18 15:54:25


         Debtor 1                                                                                                                                              case nuii'iber (itkh~wn>




           4.       Did you have any income from employment or from operating a business during this year or the two previous calendar years?
                    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
                    ~ e filing a joint case and you have income that you receive together, list it only once under Debtor 1.


                    0    Yes. Fill in the details.


                                                                                                                                                                                        ,       ..
                                                                                   Sources.of Income:                             Gross income                                 Sources· of.incom~.                                   ;Grbss      1n'tg~e, / -
                                                                                  ·. c11Jc11
                                                                                        a11:111~t apply.                          (before deductions and                       Check'all iti~t~~p~/                 ..              .· (ti'efor~<l'edoctfo'ns:arril/,.
                                                                                                                                  exclusions)                                                                                       ·ff~fijSJ~i(I~). ft~{~) ff!/().

                           From January 1 of'cu"rrent year until                  , D:W.ages, 9ommissions,                                                                      O·. Wages, commi_ssio'ns;
                        •P-thedate you filed•for bankruptcy: o,           C   •
                                                                                   .. ,.',bo~uS:E!R,'Jips : ' .                                                                   ·         ticinuses, !ips    ·          ··   .,   J---~..,....,.~=--"~-
                                                          •J     ,,..,,           ·O. OperaJing it business.· ... , ,                      ,, ,                                 0           Operating a businessy


                          For last calendar year:                                   0    Wages, commissions,
                                                                                         bonuses, lips                                $_ _ _ _ _ _ __
                              (January 1 to December 31, - - - ~
                                                          yyyy
                                                                                    0    Operating a business
                                                                                           :,·.·)'',_.    1! ' j '   ·.   1                _,~·l// :-



                                                                                    0    Wages, commissions,                                                                    0           Wages, commissions,
                          For the calendar year before that:                             bonuses, tips                                $                                                     bonuses,'tips · ,
---~-----1(,.,,Jaooai:y-4-to.fleremeeF-r3.tt;1,,====:::J--t0;;1-io0JJtperatn,g--a--tl~us"'m=e=s=s--"'---------t-O+-,o"'"p"'e~ra""t""m"'g-;a;,;c;buc;;s"'in:;;:e;;;s""s-~$~======~---t--
                                                          YYYY                                                                                                                                                                                                '·-



           5. Did you receive any other income during this year or the two previous calendar years?
                    Include income regardless of whether that income is taxabled~xamples of otherin.come are alimony;·child-support; Social Security;
                    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; _and
                    gambling and lottery winnings. If you are filing a joint case and you have income tha_t you received togeth~r, list it _only once under Debtor'{ •
                                                                                        \... , :''.'Jrl '.;. \   !_';1 . •    •       :, "1•   ·,)!,:   '.   .C"L.·:·1. '··   :_:.· · . .      : •   •~       ,.,        ·.                  •   ·   '    '   .

                    List each source and the gross income from each source separately. Do not include income that you listed in line 4 .


                    ~~I
                                                                                                                                           ..~ .... w·. ,-
                .                    in th~ ~eta~ls.




                              From January 1 of current year until                                                                                                                                                                  $     lflfl. 67)
                              the date you filed for bankruptcy:
                                                                                                                                                                                                                                    $                ,~02-
                                                                                                                                                                                                                                    $

                                                                                                                                               S'°7't 02-___________                                                                $      571f10t--
                                                                                                                                          Ir   otff. fJD                                                                            $    l fOtj_L, 07)
                                                                                                                                                                                                                                    $



                              ,For the calendar year,before·tha}-                                                                 $       lrOlflc.m                                                                                 $·   Io tf:f.c.m
                          .
                              (January 1 to December 31   ~Of~
                                                          yyyy
                                                                                                                                  $         52lf. tl)_                                                                              $     "'. J:;?tf-.a z--
                                                                                                                                  $.-c-------                                                                                       $




                                                                  ~   •                                      '        "           >

         Official Form 107                                     St<1iement of F,in<1_ncial Affairs for lndividual:5_Filing for BaQktuptcy                                                                                                                 page 2
                                 Case 1-18-42719-ess                              Doc 19          Filed 07/19/18                        Entered 07/19/18 15:54:25


    Debtor 1                                                                                                                            Casenumber(ilknooo)      I g-Lf27J 1ft~S,
                    List Certain Payments You•Made Before You Filed for Bankruptcy



      6. Are either Debtor 1's'or Debtor 2's debts primarily consumer debts?·

         0     No. Neither Debtor 1 nor Debtor 2 .has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."
                      079            th'e 90 ~~ysbefore you filed for .bankruptcy, d'i'd' you pay any c-r~di~o~ a total of $6,425* or h1'ore?

                      l!J° No.Goto line 7.                                       . ..-               .        ·,, .. ,,

                      0          Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                                      total amount you paid that creditor.' Do not include payments for domestic support obligations, such as
                                      child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                      * Subject to adjustment on 4/01 /19 and every 3 years after that for c~a_ses _file_d on or after the date of adjustment.

         0     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                      During the 90 days before you filed for bankruptcy, did you pay any creditor-a·totai'of$600.or mcireT

                      0          No. Go to line 7.

                      0          Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                                      creditor. Do not include payments for domestic support obligations, such as child support and
                                      alimony. Also, do not include payments to an attorney for this·l5arikruptcy case·.·   · · ...                                                        .,   '




                                                                                                         $_ _ _ _ _ _ __                                $_ _ _ _ _ _ __
                                                                                                                                                                                 0     Mortgage
                                  Creditor's Name                                                                                                              ,..
                                                                                                                                                                                 0     Car

                 . ~' · l . ·.    Number · Street· ,··, · :·           ,\t,              '.'lL,                                             l   :.. •                      · ,,.JJ Credit card·:"•>'.:
                                                                                                                                                                                 0     Lo~·~· repay~eM
                                                                                                                I .~'   I,   • ' "':;   :                                      . ;. J. '  ,-.. ' •. , ·;;-. .c: ' '
                                                                                                                                                                                 D Suppliers. or. vendors
                                                                                                                                                                                Dother _ _ __
                                  City                         State          ZIP Code



                                                                                                         $._ _:;.:__ _ __                               $._ _ _ _ _ _ __
                                                                                                                                                                                D Mortgage
                                  Creditor's Name
                                                                                                                                                                                D Car
                                  Number     Street
                                                                                                                                                                                D Credit card
                                                                                                                                                                                D Loan repayment
                                                                                                                                                                                [l Suppli~rs or vendors
                                                                                                                                                                                D Other _ _ _ __
                                  City                         State          ZIP Code




                                                                                                         $_ _ _ _ _ _ __ $_ _ _ _ _ _ __
                                                                                                                                                                                D Mortgage
                                  Creditor's Name
                                                                                                                                                                                D Car
----t-------hlu~-m~b~eTr=.is~,e~e~t==========--'===='---------------------l...LCredit.cau.u..------1--

                                                                                                                                                                                0    ·Loan repayment

                                                                                                                                                                                D Suppliers or vendors
                                                                                                                                                                                D Other _ _ _ __
                                  City                         State          ZIP Code




    Official Form 107                                              Statem·ent of Financial Affairs for Individuals Filing for Bankruptcy                                                            page 3·
                         Case 1-18-42719-ess                                              Doc 19       Filed 07/19/18                    Entered 07/19/18 15:54:25


Debtor 1                                                                                                                                Case number (if known)
                    First Name        Middle Name                            Last Name




 7. Within 1 year before you filed for bankruptcy, did y9u make a payment ori a debt you.owed anyone who was ari insider?
      lnsiders"include your relatives; any-gen·eral partners; relatives of any general p·artners; ·partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 1,1                                        L!.S.C. § 101. lnctude payments for domestic support obligations,
      z c h i l d support and aHmony.                                                                              , •.


      D    Yes. List all payments          to an insi\JE/r.                                      ,· ,...
                                                                                               ·oates of                 Total amount      Amount you still      Reason for this payment ... ·
                                                                                                pay_nJent .              P.ai.d            owe                                           : ~-Vi
                                                                                                                                                                      \ .'>_:,;,, .. ,~'-~.~>.. t.:(



                                                       .   ;,   .
                                                                                                                       .$_·_____         $_ _ _ __
             Insider's Name



             Number        Street

                                                                                                                                           't

                                                                                          '·
                                                                                    '·
             City                                      Stale                 ZIP Code


                                                            .'\ 1·                       ',,
                                                                                                           \;:,.   · ..$~-,·_ _ __        $_ _ _ _~
             nsi<ler-&-Nam-                                                                                 .   '\,,   ;:.'



             Number        Street
                                                                    ~   iU                           ·,. /. .




             C~y                                       State                 ZIP Code



 a.   Within·1 y.ear before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited


      z•ym••~,
      an insider?     ,
                                 o, deb~ goa,aoteed o, coSgoed by ao ioside,.


      0    Yes. List all payments tnc1t.b.enefit$d an Ln~ider.




                                                                                                                        $______ $_ _ _ _ __
             Insider's Name



             Number        Street




             City                                      State                 ZIP Code

               ---- -----------------------------·---------h·~--·-·--·~f------------------1
                ·. r..
                                                                                                                        $ _ _ _ _ _ _ $_ _ _ _ __
             Insider's Name



           :- Number       St/eel




           _ C~~- .... - ..... ·------------·---- State __ .. _ZIP Code _______ .... ·----·----. ____ ........·-----··---·--· . _ .......____ .. .



Official Form 107                                               Statement of Finai;ici.al ~ffairs for, Individuals Filing for Bankruptcy                                                               page 4
                                  Case 1-18-42719-ess                                       Doc 19                Filed 07/19/18                                 Entered 07/19/18 15:54:25


      Debtor 1
                                                                                Last Name
                                                                                                                                                            Casenumber(itknown)                   I~ -!f-?-711ES~
                          l~entify, Legal _Actio!ls, ~epos~es~ion~, and l"or~closures
        9. Within   1 year before you filed for bankruptcy, were you a party in any' lawsuit, court action, or adminisfrative'pro·ceeciing?'
           List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
           and contract disputes.


           ~ n the detail~.

                 ~;;ct(~ i;/,L":'-
                   Casj title
                                                              I

                                                                  ,L..
                                                                                    ~h--'-~a_·~=-~y,-~f-'--~-"·;=:;_se_0-,-·:·.·._5_·_-lvy-~-.....

                                                                                                  fl          •       /J '
                                                                                                                                                     ;~iii!:v~:~i.•f~, ~,,
                                                                                                                                                     Court Name                                                          u p~
                 ~tuyv,~SA-N·i.i                                                         (yY\     \J'---~v\O(\/\A,-5                                 36b ~ s.fvc:ffw,o;;appeal
                 I:;;:.                                                                                                                                                                                                  O
                                                                                                                                             ··p_,yoiJ</ ;;;· N:%
                                                                                                                                                     Number       Street                                                         Concluded

             L~~n"umber                     Q 79                                      o°!                          _,.. ·
                 --V-~.L.~.,---,..,.-'.--"-_,,_.!e..:~~-l-:-.,.:--.,..---,----,-....,.,----c,-;---,..,.-,--,-+C-i-ty-,------~-1-...,...,.S~ta,.,te,.c-...;...Z...,I""C_o_de;-,--------;___.....,._;__..._""-~"-'-
                                                                                                                                                                                                                             '      '    :Ji\:>

                   Case title_ _ _ _ _ _ _ _ _ _ _ _ ,                                                                                            Court Name                                                             0       Pen~ing,

                                                                                                                                                                                                                         0       On_    appe~I.
                                                                                                                                                  Number          Street                                                 D       Conc,luqe~, ;:"'.h
                                                                                                                                                                       . . :: .~·' ,, .
            ..•. ,.C.a_se_number .. ~-~~-~~~~=~
                                                                                                                                                                  :·    '{       .
                                                                                                                                                                                              .... :_>::; .':: ::< -···-· __' ~__,. :.:; .JtJ?{}
                                                                                                                                                                                          S!a!e    ZIP Code


        10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed,_ garnished, attached, seized, or-,!_evi_ed?
           Check all that apply and fill in the details below.

           D     N/4o to line 11.
           cu/4~::~~  in the·information··below.                                                                                          ,.;,,., '., 1 ,   .,


                    ct{)._\
                    ~             ~!IV  k,iN, n
                                    Ti. "e..~ ,-lO l CX..~j.J
                                                                                                    ~?ilJ~i1itPfz1>'%"J}'S:%,i~:?~s:r.:,;,;:;,.;·i. /'\;v~·;-;,,;.,;· Dai:'
                                                                                                   ::0.,,,;;;',.,,.Y:':t.ff->-'i~tf.:-,,~,     ;t ,.                         :<<.

                          ~,..........
                              LLC- ·   ~ {f        U"' $ · V\,1 ( d Wl<l
                                            3 5-l-avy<g                                 ''                   ?/! f, "2t.5t7lJ, C5!7o,                                                                         1(f
                          ~.L::,~ f v ~ ,;i!lia1~&hiihk                               ·· ,___K
                                                                         ,,,.,., (j) \fV\.
                                         - ·<-, e,, ,_,,,.,,·.·,c' '· ·-rP;. ,,, .
                                                                                                        . . . j _1; r1J J-
                                                                                             _,.,,., .. ce--· W-,VY {)l-( tJ( n/2
                                                                                                       0      Property was repossessed.                           ~"(_                            'f, , ,- V\. ~':' ,e                      ""f".   9 fev
                                                                                                       ~operty was forec1osedr.,-'---,,,,                                            o-v0 ,-eJ:::VY.            vV'!:3 Co
                           1/S"<crulc/y, tv;Y: 11 i2 { 00                                                     Property was garnished.~v\..dt                                                 OV\     \A>¼,\'-t \. V\
                           cay                                       Slate'   ZIP Code                        Property was attached, seized, or l e v i e d . ~ ~ ·                                                       -CC

                           "'cr_e_di-!o-r's_N_a_m_e_,_,._,,   _·'---------1 iC~','.~w·:~.,...~ ;,,,, ' "                                                ~"n•<>



                 Number
_ ____,_ _ _ _ _ _ ___  S!ree!
                          _ _ _ _ _ _ _ _ _ _ _ _ ___.::xplain.what.happene,...__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _---4-_


                                                                                                       0      Property was repossessed.
                                                                                                       0      Property was foreclosed.

                           Ci!y                                     S!a!e     ZIP Code
                                                                                                       D      Property was garnished.
                                                                                                       0      Property was attached, seized, or levied.



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Debtor 1                                                                                                                                            Case number     (itkno~)    I K- Lf2-7 f q /ZS5
                         ·days before you filed for bankruptcy, did any creditor, including ·a bank-or·financial'institution, set off any amounts fron)'your..
                   nts    or refyse to make~ payment because you.owed a debt?
                                        •• :•   I                   '           ,                •
                                                                                                                       -                            .    .. .


       0      Yes. Fill in the details.

                                                                                    Describe the action the creditor took     .. :· ... i,.                                           Date action .          Amounf :~·l         h.-·
                                                                                                                       ·. ~.'
                                                                                                                                           -_,_   ., ·. \_·;.,-                     . was-taken·:.;:~;;, ,/,, .,, ·.T·; , ,,,,
              Creditor's Name
                .,, .   ,· ··:,


                                                                                                                                                                                                             $_ _ _ _ _ __
              Number , Street




              City                                      State      ZIP Code         Last 4 digjts of account number: XXXX-_                                       __ _


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
       creditors, a court-appointed receiver, a custodian, or another official?
       o:·N.v·
       lll4es·C ·--


                      List Certain Gifts and Contributions



 1~:   ~ ~ear·s· be:~:~.. ~o~ f:'.~~ -f~~. b_an~rup~cy, did_ ~ou_,:ive -~ny ,9,'.~~: ;i~h a_ :o~al ,;:'.u.~ o'f :~r~. t~:::~,~\O.                                                       ~J:~   p~r;~~~-

        0     Yes. Fill in the details for each gift..                                                                                                              ·'.: ··· -L,l              ·: '




             titt~{i~.iii~~tf::i1tr~1t;1$~i~ti. ; ~t;t~~i1!~~iiJt~r::.:~tiit~iitij
  ··-t?-;.-:rr1r!-r~3·,r;---:--.-~~.-               · : · .. ' ·                                          -\ . .-,.-; "·,·   ,(,i,.: ...     :i

                                                                                                                                                                                                                 $ _ _ _ _ __
              Person to Whom '(cu Gave the Gift

                                                                                                                                                                                                                 $ _ _ _ _ __



              Number          Street



              Ctty                                       State     ZIP Code


              Person's relationship to you


                                                                                                                                                                                      oaieli:You ga','.e-        ···value
                                                                                                                                                                                      the'gitts · ·    ·


                                                                                                                                                                                                                  $_ _ _ _ __
               Person to Whom You Gave the Gift


                                                                                                                                                                                                                  $_ _ _ _ __



               Number         Street



               City                                      State     ZIP Code


               Person's relationship to you _ _ _ _ __



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                                                                                                     (



Debtor 1
                             First Name                 Middle Name
                                                                                            kW\
                                                                                         Last Name
                                                                                                                                                                                                        1t-Lf-Z71q ~fS
                                                                                                                                                                                   Case number (ifknown) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




   14. With~years before'~~u fil~d for bankruptcy, did yo~ give a~y gift~ or contributions wi~h a total value of more than $600 to any charity?

        ,~o                                                                                                                                                                                         .
          D Yes. Fill-in the det_~ils fa! each gift or contribution.
                                                                                                                                                                                                                                                             -,,,.,.·o,;1
                   · Gifts or contributions to charities                                        Describe what you contributed                                                                            D_ateyou . ·                                  Value
               . ":.~:":;
                     tflat        -,. more thari,$600.
                          ·:, ...total       . .. , . ----....... .                                                                                                                                      ccihtributed>
                                                                                                                    ----~~-~--· . .-· .... ·.. ····--···· •' . .~--· -~~h ···-~--- ....
                                                                                             ~---------------~--------~-                                                                                                                                                ~




                                                                                                                                                                                                                                                       $_ _ _ __
                 Charity"s Name



                                                                                                                                                                                                                                                      ~------
                                                                                                                                                                                                        ./
                 Number           Street

                                                                                                                                                                                                             .   ~·   ~   ;   .
                                                                                                              ,·;; ._...                               ••• l   \ .:· ~ •   ::·;
                 C~y                   Slate              ZlP Code




                            List Certain Losses

,-.;. ·.·,;r,-~· ~~t   jf::~{ilrv·\        -~() ~:~-0 ,.., j/=[i -_,:::.:·:                      i,:;.:,· ,l,?.'h~ ., ,-;-· ;:,,';.': , . ·•    f-,   1.:!:-;.,-   ':-: :.- 'i: ;:_,,'-;;1 8".'.'
  15. Within 1 year befor~,Y.Q~_,til~i:IJor bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
         ~ · or gambling?                                         ··, •,,                                                                                                                                                           .... , ..


    · · D--Yes, Fill in the details.- -                                                                                                                                                                                                         · .i;;· ·




                                                                                                                                    ·.' '. · ~ ·•

                                                                                                                                           ,,   ',




                          List Certain Payments or Transfers

  16.)Within,~·.year.before.you filed-for bankruptcy;did you or any.one else acting on your behalf pay or transfer any property to anyone
     yb(J'i:o ... ted about seeking bahkruptcy·or·p'reparing a bankruptcy petition?         i .,. .                         .


     lnclu any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your ban!<fuptcy. ·


         0       Yes. Fill in the details.

                                                                                                Description and value of any"p~operty tran~feried ·                                                     Di!te payment or                             Amount of payment
                                                                                                                                                                                                        transfer              was                 -.,...,..- ..__... ., __
                                                                                                                                                                                                                                                                   ...;:·:·
                   Person Who Was Paid                                                       ,------------------------'----'""":~"-,_···_•.""':r:                                                       m?de 8                    >-¾




                   Number             Street                                                                                                                                                                                                         $_ _ _ _ __


                                                                                                                                                                                                                                                     $_ _ _ _ __

                   City                                       Stale           ZIP Code



                   Email or website address


                   Person Who Made !he Payment, ff Not You



Official Form 107                                                               Statement of Financial Affairs for·lndividuais Filing for Bankruptcy                                                                                                               page 7
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Debtor 1                                                                                                                                                   Case number c;lknown)
                    First Name         Middle Name                             Last Name




           ----------------------------·········-···---------------------------------
                                                                                           Description and value of any property transferred                                                               Date payment or             Amount of
                                                                                         :tH·:: ,!1~:·::.t:.iJ· ;::.c,. ....,.;!:,__. :::{::, :.· -·t: L:-'· :·:.-ib ,\::1'::\-:.:\1/.11:i-:..-~.~ -,.i:-; t~nsfef:\,_\'as~ritade_;: :~PB:Yinenttt!V _:


            Person Who Was Paid
                                                                                                                                                                                                                               $_ _ _ _ __

            Number            Street
                                                                                                                                                             .ij·;,,::,                                                      .-
                                                                                                                                                                                                                             . ,$.~··------


            City                            State                ZIP Code




            Email or.website address


            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf.pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your credito":>?                                ~·
     Do n?clude any payment or transfer that you listed on line 16.

     ~o




            Person Who Was Paid


            Number            Street




     ····--· C~y · - - - -

 18. Within 2 years before you filed for bankruptcy, did·you sell, trade, or otherwise transfer any property to anyone, other than property
      transferredjn the ordinary course of your business or financial affairs?
  ... riidiide 6 - ·outright traiiiife"rs and transfers made as security (such as the granting of a security interest"or mortgage on your property).
    -Do n          nclude•giftsand·transfers·that-you·have already·listed oncthis statement:·                     0




           No
     D     Yes. Fill in the details.

             11:   •'j: ,:,

            PersonWhoReceivedTrahsfe'r ·' 1                    1
                                                              • ••   1
                                                                         1
                                                                             ·:>·   '-
                                                                                           .··_,   \




            Number            Street


                                          ':.. "\ ._,:.r-J~                                            ;_-."i-:
                                            : : :_:. ; ( l ~
                                            State:ri; ZIP Code


            Person's _relationship to you _ _ _ _ __


            Person Who Received Transfer


            Number            Street




            City                            Stale                ZIP Code

            Person's relationship to you _ _ _ _ __

Official Form 107                                                    .. ~tatement of,Fjna.ricial Affa,jrs ,for.Individuals. Fili_ng for. Bankruptcy                                                                                       page 8:
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                                                                                   l
Debtor 1
                     First Name       Middle Name
                                                                       /(l V\
                                                               Last Name
                                                                                                                                                                   Casenumberi;,known)       ;g - Lf- 2·7 I 1 1irs
  19. Within 1 o years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you ·
     a_~e ~ficiary? (These are often called asset-protection devices.)

     ~o
     D       Yes. Fill in the details.

                                                                         Des~~iptlon a~d value of the p_roperty transferrecf"'                                                                             '-~'l" _._, ;· ,., oatttranster
                                                                                                                                                                                                                         was made


             Name of trust




                                                                                                                                     <' • .>   (,    ' ~' •    >    • '. ~   ; ~


                  List Certain· Financial Accounts;· Instruments, Safe Dep,o_sit Boxe.s, _an~· S!ora~e Unit_s

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,•
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     ~ge"houses, pension ~~~dsr- c_~~rera~i".'es, associations, and ot~f!"_fi?an1:,(-:i:1 infti~!:'~tions.                                                                                          . ,            . .


     0       Yes. Fill in the details.




              Name of Financial Institution
                                                                          xxxx-_ ._ _ ._._                                                           D Cii"ecking                                                  $_....,...._ __

         -    Number       Street
                                                                                                                                                     0 Savings
                                                                                                                                   : r_~ .•         .- t:Jr .. -·: : -· .: -~ ( -<· ~\; \ :: .
                                                                                                                                                         . [V!oney nJarket ___ ___ .. . .
                                                                                                                                                                                         ~



                                                                                                                                                     0'.Bi'okei'age
              City                        State     ZIP Cod~           •' '.1: \                                          ,'i:..     ,,             :0        Other



                                                                          xxxx-__ ___ :,----.,-                                                      0
                                                                                                                                                     :
                                                                                                                                                              Checking
                                                                                                                                                         ,"I',_ . •:;·                                             $--~--
              Name of Financial Institution
                                                                                                                                                     El_:savings ·

              Number       Street ·                                                                .1.                                               0 ·Money·markeL,
                                                                                                                                                                                                                         -., ..
                                                                                                                                                                                                                              ,,
                                                                                                                                                    'Dr 1BrbkerJge
                                                                                                                                                     0        ·other_,_.,._____
                                          State     ZIP Code
                                                                 -~f                   ,   ~._;t         ,,,·   ,f.'   ~"-;!          •::.,~·.'                                    ,d•               ~,·   'i' •


               u·now have, or did you have within 1_year before you filed for bankruptcy, any safe deposit box or other depository for
             urities, cash, or other valuables?
             No
     0       Yes. ~ill in the details.
                                                                         Who else had access to it?                                                                     Describe the contents                     Do you still
                                                                                                                                                                      , - - - - - - - - - - - - - - - - - - - - , tiave.it?

                                                                                                                                                                                                                                  0   No
              Name of Financial Institution                             Name
                                                                                                                                                                                                                                  0   Yes


              Number       Street                                       Number     Street


                                                                        City               State                       ZIP Code
              City                        State     ZIP Code



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Debtor 1                                                                                                                                     Case number (;(known)   r ~ ~ 4 ~ 7/ 9![S5
22.Hav~ stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
      ifN~                                        I.

      0    Yes. Fill in the details.
                                                                         Who else has or had access to it?                                         Describe the contents               Do.you still
                                                                                                                                                                                       have"it?

                                                                                                                                                                                        0No
             Nam e or Storage Facility                                   N~me      ...     ;,
                                                                                                                                                                                        0Yes

             Number Street                                               Number Street


                                                                         City State      ZIP    Code

                                             State            Code
------~                                                 ZIP



                     Identify Property You Hold or Control for Someone Else

                  old or control any pr~perty-that ·~o·m~on~ ei~~ o~~~?-1~b1uci~ ~ny·property you b~rrowed·fr~m. ar~-~t~ring for,.
              ld·in-trust for.someone;    .. 1,· ·-- ';:·.-·' ,. :a:: .. · - ,.
           No
                                                                                                                                                                                       ,,,l
      0    Yes. Fill in-the details.




             Owner's Name                                                                                                                                                            $_ _ _ _ _
                                 .   : (:-. ::,                      0;~;__··;__ _ _ _ _·._~;_:r_ _ _ _ _ _ _ _·_.,_c_-~;
                                                                       Number Street



                                                                       City    '                                   ..State      ZIP   Code
            . City                          .State      ZIP   Code

                     Give Details About Environmental Information

 For the purpose of Part 10, the following definitions.apply:.
 11   Environmental Jaw means any federal; state, or loc~.l.:_st,c!~ute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes; ·or ·material into the air, land, soil, surface water, groundwater, or other medium,
      im:lucJipg_~!_clt!,lt~~ <>r_rElgulc1tio11~_contr9Jli11g ttie~c!ea_n~R-O.f t'1ElSEl substance_s,wc1~tEls,or,mc1t~riaL
                                                                                                               0




 •    Site means ~ny location, facility, or property a~ defineC:runder any·environmental law, whether you now own; operate,.ot ·:
      utilize it or used to own, operate, or utilize it, including';disposal sites.

 •    Hazardous material means anything an environmenfal 'law defines as a hazardous waste, hazardous substance, ·toxic
      substance, hazardous material, pollutant, cont~!Tiif1ar;it;_:Qr similar term.

 Report all notices, releases, and proceedings that y<>µ ~n9_i.-i about, regardless of when they occurred.


 2< Has ~mmental unl~~~tlfled you ·"'at you m'.:'. ~•.llabl'. ~' po~ntl~lly. ll•bl• ""."" o '. In '4o;;~:n of an envlronm~ntal 1,,,;,
      ~0- -                                                                                                                                                          .     ..   '·


      0    Yes. Fill in the details.
                                                                        · Governmental unit                                            Environmental law, if you know it



            Name of site                                                Governmental unit


            Number    Street                                            Number Street

                                                                        City                           State       ZIP   Code


            City                           State       ZIP   Code



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                                    Case 1-18-42719-ess                                           Doc 19                           Filed 07/19/18                                   Entered 07/19/18 15:54:25
                                                                                                             (

       Debtor 1                                                                             k                                                                                                              I g_lf-21 I qEff
                                                                                                                                                                                  Case number (itknownl, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                               Firs! Name               Middle Name                   Last Name




             25. Have ~tifi~d any go'(ernm~m~~I unit of any release of hazardous material?

                 ~
                 D     Yes. Fill in the details.
                                                                                                 Governmental unit: .•.· ,                               ,,. '• .. El]Vironrnental iaw, if you know it                                       .. ,, " '· Date1of notice



                        Name of site                                                        :O:o:ve:r:n:•:e:"::a:,":":,::,'.':,:ct:"':;,:·~:;,:,~:·:,:.,:::·:--:.,:.~"_I,_"_·_·_·_·!_-·._··_···-"-----"-,------------'I -.-_----
                        Number Street                                                        Number Street


                                                                                                                                   State       ZIP Code
                                                  .• ,,.,,, I<':':·'                                                                     \r_      ;Li,                                                                    I·

                                                                                                                                                                                                    ·, .liq   : r·. ;~·
                        City                                 State         ZIP Code

                                                                                                                                                    :.d
                               u been a party in any judicial or administrative proceeding under any environmental law? Include seUlements ~nd qr~ers.
                                                                                                                                                                                      .                        : ,'   ~         - ; :~' . .? . ; . ·; : .



                D      Yes. Fill in the details.
                                                                                                                                                                               . Nature cit the case

                       Case title _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                 Court Name                                                                                                                                                   I D Pending
                                                                                                                                                                                                                                                            ):: 0      7 On         appeal
                                                                                                 Number Street                                                                                                                                                     D          Concluded

                       Case number                                                               City                                      State         ZIP Code


                                Give Details About Your Business or Connections to Any Business

         27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                       D ~ e proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time                                                                                                   ..., ! . r:
                       U'A member of a limited liability company (LLC) or limited liability partnership (LLP)
                  . -o--A  pifrtner              in·a
                                      pari:iiersiiip -- ·-- ---·

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                      ··o An offiter, cliri:!ffoi, or·m~'.nagiilgexecutivebf~·i!'a~Wiatibn'
                           -·~·-·   .'       :    ·:;   i.   ~hii.'~   :      ,.,.1   J>.:~·,:: ·An'':,· :- 1            ,_·   '    • • :! ··•.
                                                                                                                                                          - . '"
                                                                                                                                                                      r_,,.                        <),"!!: , ...
                       D   An owner: df'citleast-5% of th'e-votirig or:equity securitie\{ofa,corporation..                                                                                                      ; ' ·· ,;                                             ·       .:J
                                                                                                                                                                                                                                ·n              -_:1
                D ~-- None of the above applies. Go to Part 12.
                ~Yes. Check all that apply above and fill in the details below for each business.
                                         '                                                   . . escritie'the'iiat~ie' ~f.the:b~sin'es°s                                                         Employer Identification number·                                          ,    lt ..
                                                                           we:+·~· ~· .;,,;.,:c.~~2-· •.                                                                                         mfnonnclmhf so;cia1:~e~~",Wii1.J,!11bW:,ei;. in~.


                        ~ ~ ~ ~ ~ t ± : ! _ : t : _ __ _
                                                                                                                                                                                                 EIN:-:Z       _L _()__~g-Q_ h /£-_Q



                                                                                                 Des_cribe the nature of the business                                                            Employer Identification number
----i-----'i'i'iu~s:r.,n;;';e~sfs~am;;:;;;=e=======:;=.,:=,=;0_==:c========c=============,-'-'o..notinclude..So~ial.Security..number..ptl,IJ~---1--

                                                                                                                                                                                                 EIN:
                        Number. Street                                                   ·,'''                                                                                                                                 '1·; ::,:·.   ':;J ·:o•\'t{.:-; !   ~:·I;'{
                                                                                         ,-: Name oriicc:ourifaiifor'ifooi&eeiier· · ....                                                        bates business existed


                                                                                                                                                                                                 From                             To _ __
                        City                                 State         ZIP Code

      Official Form 107                                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                                    page 11
                         Case 1-18-42719-ess                         Doc 19                    Filed 07/19/18                              Entered 07/19/18 15:54:25


Debtor 1                                                                                                                                 Case number (it known)


           --·-······-·---·-· ·······--· ------------------------------------------------------------
                                                                                                                                                                      Employer Identification number
                                                                                                                                                      t''' ::, ;o:D'iii·kri~'tiiid~-S6ciJl's~'<iu~ity'hu~tier ~r' iTIN.
                                                                   ,---------------------,
             Business Name
                                                                                                                                                                      EIN:

            .- Number    Street                                    :,-,   ,   ~   y,   ~ ,,1                            .'IA![!,>,   ,,'$'",i,'",'<   /f-f,1
                                                                     Name of accountant or bookkeeper                                -            ,                   Dates business existed



                                                                                                                                                                      From                                          To _ __
             City                         State   ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a finan6iai"'"statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     ~
     D -Yes:_lm in the.det~Hs below.               -       .




                                                                                                                                 .. ',      ji·,·


             Name                                                    MM /DD/ YYYY



           -·,UN~mber    Street




             City                         State   ZIP Code




                                                                                                       ir1       r, ·
                    Sign Below
                                                                                                                                                                                 f'   • !"   '",-,!   • j-,;, , '    f   ''IL•[,.   ir-.
     . 1_11av.1~IE1?cd.the answ.~[S._011 th[s ..Statememt.Qff=in_anc;~al.Af(air.s and.~i:!Y;il~~P:,"!-:e~t~,.l;l!)9J-ff~-¥},c_l~~-:N-O'.~i~,~~nittY,Te-f Rirj,IJcy._~?,at,the .
       answers are true and correct. I understand that makmg a false statement, concealing property, or obtammg money or property by fraud
       in connection with a bankruptcy case can result in fines. up. to.$250,000;,or imprisonmentJor. up.cto 20 years;-or'.both~,-;, . ,. ,
       18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                                                                                                                                                                                                            ·.1      ·.,H




                                                                                                Signature of Debtor 2

      ·· D~t~..;z_/aj,2-o(~'°-.                                                                 Date         -                                                 · ··          -                                              ·       ._--    ·

      Did ~tach addft10:h_a'1'pages ~o Y~ur Statement of Fina.ncia/ Affairs fiir lndiviciuaiSFiting for Ba~kruptcy (Official Form 107)?
      if No          ,            . ,      .           .       .                                                                                                                         .
       D      Yes


      ·Did ..
       ~ui,c1y.
                /4or'        agr~e      t~ pay someone who is not an attorney._to help you fill out .bankruptcy forms?
                                                           .


       D     Yes. Name of person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach the Bankruptcy Petition 'Prepare r's Notice,
                                                                                    Declaration, and Signature (Official Form 119).




Official Form_ 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                                 page 12
